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S-l/A   1 swingplanesla7.htm FORM S-1/A-7
                              As filed with the Securities and Exchange Commission on June 8, 2011
                                                                                                                              Registration No. 333-168912
                                                                     UNITED STATES
                                              SECURITIES            AND EXCHANGE COMMISSION
                                                                   Washington, D.C. 20549

                                                                       FORM S-1/A
                                                                     Amendment No. 7
                         REGISTRATION                STATEMENT UNDER THE SECURITIES ACT OF 1933
                                                              Swingplane           Ventures,      Inc.
                                                         (Name of registrant as specified in its charter)


                     Nevada                                                      2300                                           XX-XXXXXXX
    (State or jurisdiction of incorporation   or        (Primary Standard Industrial Classification Code            (I.R.S. Employer    Identification   No.)
                    organization)                                               Number)


                                                                    220 Summit Blvd. #402
                                                               Broomfield,    Colorado 80021
                                                                        (303) 803-0063
                                         (Address and telephone number of registrant's      principal executive offices)


                                                               Matthew R. Diehl, President
                                                                Swingplane Ventures, Inc.
                                                                 220 Summit Blvd. #402
                                                               Broomfield, Colorado 80021
                                                   (Name, address and telephone number of agent for service)


                                                                                Copy to:


                                                                     Clifford   J.Hunt, Esquire
                                                              Law Office of Clifford J. Hunt,     P.A.
                                                                  8200 Seminole Boulevard
                                                                     Seminole, Florida 33772
                                                                         (727) 47 I -0444



Approximate date of commencement of proposed sale to the public: As soon as practicable after the Registration Statement becomes
effective. If any of the securities being registered on this form are to be offered on a delayed or continuous basis pursuant to Rule 415
under the Securities Act of 1933, as amended, check the following box. [X]

If this Form is filed to register additional securities for an offering pursuant to Rule 462(b)under                 the Securities Act, please check the
following box and list the Securities Act registration statement for the same offering. [ ]

If this Form is a post-effective amendment filed pursuant to Rule 462(c) under the Securities Act, check the following box and list the
Securities Act registration statement number of the earlier effective registration statement for the same offering. [ ] If this Form is a
post-effective amendment filed pursuant to Rule 462(d) under the Securities Act, check the following box and list the Securities Act
registration number of the earlier effective registration statement for the same offering. [ ]

If delivery of the prospectus is expected to be made pursuant to Rule 434, check the following box. [ ]
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated                    filer or a smaller
reporting company filer. See definition of"accelerated filer" and "large accelerated filer" in Rule                   12b-2   of the Exchange Act (Check
one):

                                 Large Accelerated Filer      ()                                            Accelerated    Filer [ ]


                                 Non-Accelerated       Filer [ ]                                            Smaller Reporting Company [X)




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                                           CALCULATION            OF REGISTRATION          FEE

 Title of Each Class of                                                                 Proposed Maximum
      Securities to be  Amount to be Registered          Proposed Maximum             Aggregate Offering Price     Amount of Registration
        Registered                                     Offering    Price Per Share                                            Fee
Common Stock par value        3,500,000                            $0.01                        $35,000                     $2.50
            $0.001


The offering price has been estimated solely for the purpose of computing the amount of the registration         fee in accordance with Rule
457 under the Securities Act of 1933, as amended.

The Registrant hereby amends this Registration Statement on such date or dates as may be necessary to delay its effective date until
the Registrant shall file a further amendment which specifically     states that this Registration Statement shall thereafter become
effective in accordance with Section 8(a) of the Securities Act of 1933 or until the Registration Statement shall become effective on
such date as the Securities and Exchange Commission       (the    "SEC" or "Commission"),        acting pursuant to said Section 8(a), may
determine.


BEFORE INVESTING, YOU SHOULD CAREFULLY READ THIS PROSPECTUS AND, PARTICULARLY, THE RISK
FACTORS SECTION, BEGINNING ON PAGE 7.NEITHER THE U.S.SECURITIES AND EXCHANGE COMMISSION NOR
ANY STATE SECURITIES DIVISION HAS APPROVED OR DISAPPROVED    THESE SECURITIES, OR DETERMINED   IF
THIS PROSPECTUS IS TRUTHFUL  OR COMPLETE. ANY REPRESENTATION    TO THE CONTRARY  IS A CRIMINAL
OFFENSE.



Investing    in our common stock involves a high degree of risk. A potential             investor   should carefully   consider     the factors
described    under the heading "Risk Factors" beginning at page 7.


Neither the Securities and Exchange Commission          nor any State Securities Commission    has approved or disapproved of these
securities or determined.if this prospectus is truthful   or complete. Any representation   to the contrary is a criminal offense.

PRELIMINARY          PROSPECTUS   SUBJECT TO COMPLETION             DATED    June    8, 2011.



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The information in this prospectus is not complete and may be changed. The securities offered by this prospectus may not be sold
until the Registration Statement filed with the Securities and Exchange Commission is effective. This prospectus is neither an offer to
sell these securities nor a solicitation of an offer to buy these securities in any state where an offer or sale is not permitted.

                                                    PRELIMINARY           PROSPECTUS

                                                            Dated June     8, 2011
                                                   SWINGPLANE        VENTURES, INC.
                                                   3,500,000 Sharesof Common Stock
                                                             $0.01 per share
                                                       $35,000 Maximum Offering

Swingplane Ventures, Inc. ("Company") is offering on a best-efforts basis a maximum of 3,500,000 shares of its common stock at a
price of $0.01 per share. This is the initial offering of Common Stock of Swingplane Ventures, Inc. and no public market exists for the
securities being offered. The Company is offering the shares on a "self-underwritten",     best-efforts, all or none basis directly through
our officer and director. The shares will be offered at a fixed price of $.01 per share for a period not to exceed 180 days from the date
of this prospectus. There is no minimum number of shares required to be purchased. Matt Diehl, the sole officer and director of
Swingplane Ventures Inc., intends to sell the shares directly. No commission or other compensation related to the sale of the shares
wll be paid to our officer and director. The intended methods of communication include, without limitations, telephone, and personal
contact. For more information, see the section titled "Plan of Distribution" and "Use of Proceeds" herein.


                                                                  Per Share          Tgal
Initial public offering price                                     $0.01              $35,000
Underwriting   discounts and commissions                          $0.0               $0.0
Proceeds, before expenses,to us                                   $0.01              $35,000

The proceeds from the sale of the shares in this offering will be payable to Law Office of Clifford J. Hunt, P.A, Trust Account IOTA.
^ATrust Accourit will hold all the subscription fundš pending placement of the entire-offering.  This offering is on a best effort, all-or-
none basis, meaning if all shares are not sold and the total offering amount is not deposited by the expiration of the offering, all
monies will be promptly returned to investors, without interest or deduction.


The Officer and director of the issuer and any affiliated parties thereof will not participate in this offering. The offering shall terminate
on the earlier of (i) the date when the sale of all 3,500,000 sharesis completed or (ii) one hundred and eighty (180) days from the date
of this prospectus. Swingplane Ventures, Inc. will not extend the offering period beyond one hundred and eighty (180) days from the
effective date of this prospectus.


Swingplane Ventures, Inc. is a development stage, start-up company and currently has no operations. Any investment in the shares
offered herein involves a high degree of risk. You should only purchase shares if you can afford a complete loss of your investment.

BEFORE INVESTING, YOU SHOULD CAREFULLY   READ THIS PROSPECTUS AND, PARTICULARLY, THE RISK
FACTORS SECTION, BEGINNING ON PAGE 7.NEITHER THE U.S. SECURITIES AND EXCHANGE COMMISSION NOR
ANY STATE SECURITIES DIVISION HAS APPROVED OR DISAPPROVED    THESE SECURITIES, OR DETERMINED                                         IF
THIS PROSPECTUS IS TRUTHFUL  OR COMPLETE. ANY REPRESENTATION    TO THE CONTRARY IS A CRIMINAL
OFFENSE.


Prior to this offering, there has been no public market for Swingplane Ventures Inc 's common stock.




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Item   3.Prospectus     Summary.

This summary highlights certain information contained elsewhere in this prospectus. You should read the following summary
together with the more detailed information regarding Swingplane Ventures, Inc. ("Us," "We," "Our," "Swingplane," "Swingplane
Ventures," the "Company," or "the Corporation")     and our financial statements and the related notes appearing elsewhere in this
prospectus.

The Company                 Swingplane   Ventures, Inc. was incorporated   in the State of Nevada on June 24th, 2010. Swingplane Ventures,
Our Business                Inc. is a development   stage company with a principal business objective of selling men's and women's golf
                            apparel. The Company plans to have its initial clothing line consist of shirts, pants, and skirts designed
                            specifically for younger golfers. We plan to stay on the cutting edge of the constantly changing golf apparel
                            market and our goal is to create a quality reputation within the youthful golfing community and golf garment
                            marketplace. Swingplane Ventures conducted research on various marketing venues and plans to sell our initial
                            line of clothing through our own online retail website.

                            Swingplane  Ventures, Inc. is a development stage company that has not commenced its planned principal
                            operations. Swingplane Ventures, Inc. operations to date have been devoted primarily to start-up and
                            development activities. Our President, Matt Diehl, has performed all of the development activities to date,
                            which include the following:


                            1. Formation of the Company;
                            2. Development of the Swingplane Ventures, Inc. business plan;
                            3. Initiated various garment designs and reviewed the use of different
                                                                                                 material for construction of our proposed
                            product lines;
                            4. Conducted research on three major marketing channels/strategies including smaller retail golf shops, major
                            retail outlets, and online sales;
                            5. Formulated product development and marketing strategies for product lines to include:
                                - Tailored style golf shirts for younger men and women
                                - Tailored style golf pants for younger men and women
                            6. Secured web site domain www.swingplaneventures.com;
                            7. Conducted research on men and women golfer demographics.

                            Swingplane Ventures, Inc. is attempting to become operational and anticipates sales to begin during the third
                            quarter of operations following the completion of our offering. In order to generate revenues, Swingplane
                            Ventures, Inc. must address the following areas:

                            1. Finalize and implement our marketing plan: In order to effectively penetrate our targeted market, Swingplane
                            Ventures will use a marketing plan that includes a high-end website Our long term marketing goal is to also
                            approach targeted golf pro shops and retail outlets, and target specific distribution channels using independent
                            representatives. Long term, independent commissioned sales representatives will work as middlemen between
                            Swingplane Ventures and the retailers. Their responsibilities would include approaching any/all appropriate
                            retailers, work trade shows and employ creative marketing techniques to attract golf and/or sports-oriented
                            retailers and shops. This long term marketing plan is entirely dependent on future financing and thus may
                            not occur. The Company currently does not have any engagements, agreements, or contracts with independent
                            commissioned sales representatives.
                            2. Tailor our website: Swingplane Ventures has secured the web domain located at
                            www.swingplaneventures.com. The site is currently under construction and we plan to incorporate this site with
                            strategic vertical market ecommerce retailers. We have budgeted the necessary funding to develop a quality
                            site.
                            3. Constantly monitor our market: We plan to constantly monitor our target market and adapt to consumers
                            needs, wants and desires. To be successful we plan to evolve and diversify our product lines to satisfy the
                            consumer.
                            4. Run our Company ethically   and responsibly.   Conduct our business and ourselves ethically   and responsibly.


Our Statement     of        We were incorporated in Nevada on June 24, 2010, as Swingplane Ventures, Inc. Our principal executive
Organization:               offices are located at 220 Summit Blvd. #402, Broomfield, CO 80021. Our phone number is (303) 803-0063.
The Offering

The following     is a brief summary of this offering. Please see the "Plan of Distribution" section for a more detailed description of the




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Number ofShares             The Company is offering 3,500,000 shares of common stock, par value $0.001
Being Offered:

Offering Price per          $0.01
share

Offering Period:            The shares are being offered for a period not to exceed 180 days. In the event we do not sell all of the shares
                            before the expiration date of the offering, all funds raised will be promptly returned from the escrow account
                            and returned to the investors, without interest or deduction.

Escrow Account:             The subscription proceeds from the sale of the shares in this offering will be payable to "Law Office of Clifford
                            J. Hunt, P.A.Trust Account IOTA" and will be deposited in a non-interest bearing law office trust bank account
                            until all offering proceeds are raised. All subscription agreements and checks should be delivered to Law Office
                            of Clifford J. Hunt P.A. Failure to do so will result in checks being returned to the investor who submitted the
                            check. Swingplane Ventures, Inc. escrow agent, Law Office of Clifford J. Hunt, P.A., acts as legal counsel for
                            Swingplane Ventures, Inc. and is therefore not an independent third party.

Net Proceeds to             $35,000
Company:

Use ofProceeds:             We intend to use the proceeds to expand our business operations.
Number ofShares             10,000,000 common shares
Outstanding Before
the Offering:

Number of Shares            13,500,000 common shares
Outstanding After
the Offering:


The offering price of the common stock bears no relationship to any objective criterion of value and has been arbitrarily determined.
The price does not bear any relationship to Swingplane Ventures, Inc. assets,book value, historical earnings, or net worth.

Swingplane Ventures, Inc. will apply the proceeds from the offering to pay for accounting fees, legal and professional fees,
equipment, office supplies, salaries/contractors, sales and marketing, and general working capital.

The Company has not presently secured an independent stock transfer agent. Swingplane Ventures,            Inc. has identified   several agents
to retain that will facilitate the processing of the certificates upon closing of the offering.


The purchase of the common stock in this offering involves a high degree of risk. The common stock offered in this prospectus is for
investment purposes only and currently no market for Swingplane Ventures, Inc. common stock exists. Please refer to the sections
herein titled "Risk Factors" and "Dilution" before making an investment in this stock.

SUMMARY          FINANCIAL          INFORMATION


The following table sets forth summary financial data derived from Swingplane Ventures, Inc. financial statements. The
accompanying notes are an integral part of these financial statements and should be read in conjunction with financial statements,
related notes and other financial information included in this prospectus.



                                          SWINGPLANE       VENTURES, INC.
                                            (A Development Stage Company)
                                               Statement of Operations
                            For the period from inception (June 24,2010) to March 31, 2011




Revenues                                                                                         $                    -




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Operating expenses
    General and administrative                                                        11,252

(Loss) from operations                                                               (11,252)

Other income (expense)
    Interest income
    Interest expense                                                                        -

Loss before income taxes                                                             (11,252)

    Income tax benefit (provision)
         Net Loss                                                              $     (11,252)

Basic and diluted loss per common share                                        $         0.00


Basic and diluted weighted average common shares outstanding                       10,000,000

The accompanying    notes are an integral part ofthe financial   statements.




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                                                              RISK FACTORS

Before you invest in our common stock, you should be aware that there are risks, as described below. You should carefully consider
these risk factors together with all of the other information included in this prospectus before you decide to purchase shares of our
common stock. Any of the following risks could adversely affect our business, financial conditions and results of operations.
Risks Related To the Company

(1)Our Auditor     Has Expressed Substantial   Doubt About    Our Ability   To Continue As A Going Concern.
These financial statements included with this registration   statement have been prepared on a going concern basis. We may not be
able to generate profitable operations in the future and/or obtain the necessary financing to meet our obligations and repay liabilities
arising from normal business operations when they come due. The outcome of these matters cannot be predicted with any certainty at
this time. These factors raise substantial doubt that we will be able to continue as a going concern. Management plans to continue to
provide for its capital needs through related party advances. Our financial statements do not include any adjustments to the amounts
and classification of assets and liabilities that may be necessary should the Company be unable to continue as a going concern.
(2) The Company's Needs Could Exceed The Amount              Of Time   Or Level   Of Experience   That Our Sole Officer And Director   May
Have.

Our business plan does not provide for the hiring of any additional employees until saleswill support the expense, which is estimated
to be the third quarter of operations. Until that time, the responsibility of developing the company's business, the offering and selling
of the sharesthrough this prospectus and fulfilling the reporting requirements of a public company all fall upon Matt Diehl. While Mr.
Diehl has business experience including management and accounting, he does not have extensive experience in a public company
setting, including serving as a principal accounting officer or principal financial officer. Nor does Mr. Diehl have any experience
running an apparel company. Mr. Diehl has retail and sales experience in apparel prior to five years ago and is an avid fashion
enthusiast, but he has never been an officer or director of an apparel company.


Mr. Diehl   spends at least ten (10) hours per week on the Company's needs, or about twenty-five (25) percent of his time. Mr. Diehl
also sits on the board of one public company, TapSlide, Inc. ("TapSlide"), and has his own private consulting business as well
(AppVineyard, LLC) that compete for his time. We have not formulated a plan to resolve any possible conflict of interest with his
other business activities. In the event he is unable to fulfill any aspect of his duties to the Company we may experience a shortfall or
complete lack of sales resulting in little or no profits and eventual closure of the business. On August 3, 2010, Mr. Diehl agreed to
become President, Officer, and Director for PaperFree Medical Solutions, Inc. ("PaperFree") in an interim capacity to provide
assistancein corporate compliance and manage the corporation until a more suitable candidate for Officer and Director could be found
to move that company forward. At the time Mr. Diehl accepted the officer and director positions with PaperFree, the Company was
delinquent in its periodic report filings with the SEC. On November 16,2010, Mr. Diehl resigned from PaperFree Medical Solutions.
Neither a Form 15 nor any delinquent periodic reports were filed during his tenure with PaperFree. TapSlide also is delinquent in its
periodic filings with the SEC. Although TapSlide is endeavoring to bring its periodic filings current, it remains delinquent and there is
no assurance that such filings will ever be brought current. Accordingly, our sole officer and director has been unable to cause two
separate entities with reporting responsibilities under the Securities Exchange Act the 1934 (the "Exchange Act") to file required
reports in a timely manner. There can be no assurancesthat Mr. Diehl will be able to cause our Company to comply with subsequent
periodic report filing deadlines in the event our registration statement is declared effective. The failure of the Company to comply with
the periodic reporting requirements under the Exchange Act could ultimately result in the revocation of any effective registration by
the Commission.


(3) Since We Are A Development Stage Company, The Company Has Generated No Revenues And Does Not Have An Operating
History.
The Company was incorporated on June 24, 2010; we have not yet commenced our business operations; and we have not yet realized
any revenues. We have no operating history upon which an evaluation of our future prospects can be made. Basedupon current plans,
we expect to incur operating losses in future periods as we incurred significant expenses associated with the initial startup of our
business. Further, we cannot guaranteethat we will be successful in realizing revenues or in achieving or sustaining positive cash flow
at any time in the future. Any such failure could result in the possible closure of our business or force us to seek additional capital




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through loans or additional sales of our equity securities to continue business operations, which would dilute the value of any shares
you purchase in this offering.

 (4) We Don't Have Any Substantial Assets And Are Totally Dependent Upon The Proceeds Of This Offering To Fully Fund Our
Business. If WeDo Not Sell The Shares In This Offering We Will Have To Seek Alternative Financing To Complete Our
Business Plans Or Abandon Them.

Swingplane Ventures, Inc. has limited capital resources. To date, the Company has funded its operations from limited funding and has
not generated any cash from operations to be profitable. Unless Swingplane Ventures, Inc. begins to generate sufficient revenues to
finance operations as a going concern, Swingplane Ventures, Inc. may experience liquidity and solvency problems. Such liquidity and
solvency problems may force Swingplane Ventures, Inc. to ceaseoperations if additional financing is not available. No known
alternative resourcesof funds are available to Swingplane Ventures, Inc. in the event it does not have adequate proceeds from this
offering. However, Swingplane Ventures, Inc. believes that the net proceeds of the Offering will be sufficient to satisfy the start-up
and operating requirements for the next twelve months.
 (5) We Cannot Predict When Or If We Will Produce Revenues, Which Could Result In A Total Loss             Of   Your Investment   If We
Are Unsuccessful In Our Business Plans.

We have not sold any clothing to date and have not yet generated any revenues from operations. In order for us to continue with our
plans and open our business, we must raise our initial capital through this offering. The timing of the completion of the milestones
needed to commence operations and generate revenues is contingent on the success of this offering. There can be no assurance that we
will generate revenues or that revenues will be sufficient to maintain our business. As a result, you could lose all of your investment if
you decide to purchase shares in this offering and we are not successful in our proposed business plans.



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 (6) Our Continued Operations Depend On The Public's Acceptance Of Our Product Lines. If The Public Doesn't Find Our
Clothing Desirable And Suitable For Purchase And We Cannot Establish A Customer Base, We May Not Be Able To Generate
Any Revenues, Which Would Result In A Failure Of Our Business And A Loss Of Any Investment You Make In Our Shares.

The ability to develop clothing lines that the market finds desirable and willing to purchase is critically important to our success. We
cannot be certain that garments and clothing lines we offer will be appealing to the market and as a result there may not be any
demand and our sales could be limited and we may never realize any revenues. In addition, there are no assurances that if we alter, or
develop new garments or lines of clothing in the future that the markets demand for these will develop and this could adversely affect
our business and any possible revenues.

(7) We Are Dependent On The Services Of A Certain Key Employee And The Loss Of His Services Could Harm Our Business.

Our success largely depends on the continuing services of our Chairman and Chief Executive Officer, Matt Diehl. His past experience
to lead and nurture small and start-up companies makes the Company dependent on his abilities. Our continued success also depends
on our ability to attract and retain qualified personnel. We believe that Mr. Diehl possessesvaluable industry and business
development knowledge, experience and leadership abilities that would be difficult in the short term to replicate. The loss of him as a
key employee could harm our operations, business plans and cash flows.

(8) The Clothing Industry Is Highly Competitive. If We Cannot Develop And Market Desirable Clothing Lines That The Public Is
Willing To Purchase, We Will Not Be Able To Compete Successfully. Our Business May Be Adversely Affected And WeMay Not
Be Able To Generate Any Revenues.

Swingplane Ventures, Inc. has many potential competitors in the clothing industry. We consider the competition is competent,
experienced, and they have greater financial and marketing resources than we do at the present. Our ability to compete effectively may
be adversely affected by the ability of these competitors to devote greater resources to the development, sales, and marketing of their
products than are available to us.

Some of the Company's competitors also offer a wider range of clothing lines; have greater name recognition and more extensive
customer basesthan the Company. These competitors may be able to respond more quickly to new or changing opportunities,
fashions and customer desires, undertake more extensive promotional activities, offer terms that are more attractive to customers and
adopt more aggressive pricing policies than the Company. Moreover, current and potential competitors have established or may
establish cooperative relationships among themselves or with third parties to enhance their visibility. The Company expects that new
competitors or alliances among competitors have the potential to emerge and may acquire significant market share. Competition by
existing and future competitors could result in an inability to secure adequate market share sufficient to support Swingplane
Ventures's endeavors. Swingplane Ventures cannot be assuredthat it will be able to compete successfully against present or future
competitors or that the competitive pressure it may face will not force it to cease operations. As a result, you may never be able to
liquidate or sell any shares you purchase in this offering.

(9) Our Growth May Require Additional            Capital, Which May Not Be Available.
Swingplane Ventures, Inc. has limited capital resources. Unless Swingplane Ventures, Inc. begins to generate sufficient revenues to
finance operations as a going concern, Swingplane Ventures, Inc. may experience liquidity and solvency problems. Such liquidity and
solvency problems may force Swingplane Ventures, Inc. to ceaseoperations if additional financing is not available. No known
alternative resources of funds are available to Swingplane Ventures, Inc. the event it does not have adequate proceeds from this
offering. However, Swingplane Ventures, Inc. believes that the net proceeds of the Offering will be sufficient to satisfy the start-up
and operating requirements for the next twelve months.

 Risks Related To This Offering

(10)We Are Selling This Offering Without An Underwriter And May Be Unable To Sell Any Shares. Unless We Are Successful In
Selling The Minimum Of The Shares And Receiving The Proceeds From This Offering, We May Have To Seek Alternative
Financing To Implement Our Business Plans And You Would Receive A Return Of Your Entire Investment.

This offering    is self-underwritten,   that is, we are not going to engage the services of an underwriter   to sell the shares; we intend to sell
them through our officer and director, who will receive no commissions. He will offer the sharesto friends, relatives, acquaintances
and business associates;however, there is no guarantee that he will be able to sell any of the shares.In the event we do not sell all of




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the sharesbefore the expiration   date of the offering, all funds raised will be promptly returned to the investors, without   interest or
deduction.

(11) Due To The Lack Of A Trading Market         For Our Securities,   You May Have Difficulty Selling Any Shares You Purchase in
This Offering.

There is presently no demand for our common stock and no public market exists for the shares being offered in this prospectus. We
plan to contact a market maker immediately following the effectiveness of this Registration Statement and apply to have the shares
quoted on the OTC Electronic Bulletin Board (OTCBB). The OTCBB is a regulated quotation service that displays real-time quotes,
last sale prices and volume information in over-the-counter (OTC) securities. The OTCBB is not an issuer listing service, market or
exchange. Although the OTCBB does not have any listing requirements per se,to be eligible for quotation on the OTCBB, issuers
must remain current in their filings with the SEC or applicable regulatory authority. Market Makers are not permitted to begin
quotation of a security whose issuer does not meet this filing requirement. Securities already quoted on the OTCBB that become
delinquent in their required filings will be removed following a 30 or 60 day grace period if they do not make their required filing
during that time. We cannot guarantee that our application will be accepted or approved and our stock listed and quoted for sale. As of
the date of this filing, there have been no discussions or understandings between Swingplane Ventures, Inc. or anyone acting on our
behalf with any market maker regarding participation in a future trading market for our securities. If no market is ever developed for
our common stock, it will be difficult for you to sell any shares you purchase in this offering. In such a case, you may find that you are
unable to achieve any benefit from your investment or liquidate your shares without considerable delay, if at all. In addition, if we fail
to have our common stock quoted on a public trading market, your common stock will not have a quantifiable value and it may be
difficult, if not impossible, to ever resell your shares, resulting in an inability to realize any value from your investment.


 (12) Investors In This Offering Will Bear A Substantial     Risk Of Loss Due To Immediate And Substantial         Dilution.
The principal shareholder of Swingplane Ventures, Inc. is Matt Diehl who also servesas its Director, President, Secretary, and
Treasurer. Mr. Diehl acquired 10,000,000 restricted shares of Swingplane Ventures, Inc. common stock at a price per share of $0.001
for a $10,000 equity investment. Upon the sale of the common stock offered hereby, the investors in this offering will experience an
immediate and substantial "dilution." Therefore, the investors in this offering will bear a substantial portion of the risk of loss.
Additional sales of Swingplane Ventures, Inc. common stock in the future could result in further dilution. Please refer to the section
titled "Dilution" herein.

 (13) Purchasers      In This Offering Will Have Limited Control Over Decision Making Because Matt Diehl, Swingplane Ventures,
Inc.'s Officer, Director,   And Shareholder Controls All Of Swingplane Ventures, Inc. Issued And Outstanding Common Stock.

Presently, Matt Diehl, Swingplane Ventures Inc.'s Director, President, Secretary, and Treasurer beneficially owns 100% of the
outstanding common stock. Because of such ownership, investors in this offering will have limited control over matters requiring
approval by Swingplane Ventures, Inc. security holders, including the election of directors. Mr. Diehl would retain 74.1% ownership
in Swingplane Ventures, Inc. common stock assuming the maximum offering is attained. Such concentrated control may also make it
difficult for Swingplane Ventures, Inc. stockholders to receive a premium for their shares of Swingplane Ventures, Inc. common stock
in the event Swingplane Ventures, Inc. enters into transactions, which require stockholder approval. In addition, certain provisions of
Nevada law could have the effect of making it more difficult or more expensive for a third party to acquire, or of discouraging a third
party from attempting to acquire, control of Swingplane Ventures Inc. For example, Nevada law provides that not less than two-thirds
vote of the stockholders is required to remove a director for cause, which could make it more difficult for a third party to gain control
of the Board of Directors. This concentration of ownership limits the power to exercise control by the minority shareholders.
(14) We Will Incur Ongoing Costs And Expenses For SEC Reporting And Compliance. Without Revenue We May Not Be Able
To Remain In Compliance, Making It Difficult For Investors To Sell Their Shares, If At All.

Our business plan allows for the estimated $5,500 cost of this Registration Statement to be paid from our cash on hand.We plan to
contact a market maker immediately following the effectiveness of this Registration Statement and apply to have the shares quoted on
the OTC Electronic Bulletin Board. To be eligible for quotation on the OTCBB, issuers must remain current in their filings with the
SEC.Market Makers are not permitted to begin quotation of a security whose issuer does not meet this filing requirement. Securities
already quoted on the OTCBB that become delinquent in their required filings will be removed following a 30 or 60 day grace period
if they do not make their required filing during that time. In order for us to remain in compliance we will require future revenues to
cover the cost of these filings, which could comprise a substantial portion of our available cash resources. If we are unable to generate
sufficient revenues to remain in compliance it may be difficult for you to resell any sharesyou may purchase,if at all.




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 (15) There Has Been No Independent       Valuation       of the Stock, Which Means      That the Stock May Be Worth Less Than the
Purchase Price.

The per share purchase price has been arbitrarily determined by us without independent valuation of the shares. The price per share
in the recent sale of our stock to our founder, Matthew R. Diehl was at par value ($0.001), was not based on perceived market value,
book value, or other established criteria and bears no relationship the price per share in this offering. We did not obtain an
independent appraisal opinion on the valuation of the shares. Accordingly, the shares may have a value significantly less than the
offering price and the shares may never obtain a value equal to or greater than the offering price.

(16) Our CEO, Mr. Diehl, is currently a director and officer of one delinquent public company, and has previously               been an officer
and director of another delinquent public company.

Mr. Diehl is COO and a director for TapSlide, Inc., which is currently delinquent in its reporting obligations. TapSlide is working to
become current as soon as possible. Additionally,   Swingplane Ventures and TapSlide both have corporate addresses listed as Mr.
Diehl's residence. In effort to keep costs as low as possible for both companies, Mr. Diehl provides his home office on a rent free
basis to both companies for their executive offices. Furthermore, Mr. Diehl became an officer and director on an interim basis for
PaperFree Medical Solutions, Inc., a delinquent public company, from August 3, 2010 to November 16, 2010 in order to assist in the
search for an officer and director more qualified than Mr. Diehl to move that company forward. During his time with PaperFree
Medical Solutions, no Form 15 nor any other delinquent periodic report were filed. Mr. Diehl no longer spends any of his time on
PaperFree Medical Solutions, Inc. It is the responsibility of the delinquent public company, PaperFree Medical Solutions, to file a
Form 8-K reflecting the resignation of Mr. Diehl effective November 16, 2010.Regardless, it should be noted that Mr. Diehl hasbeen
a director and officer for two delinquent reporting public companies and hence there can be no assurances that Swingplane Ventures
will remain current in its filings under his management. The failure of the Company to comply with the periodic reporting
requirements under the Exchange Act could ultimately result in the revocation of any effective registration by the Commission.

(17) Our CEO, Mr. Diehl, has no experience as an officer or director             of an apparel business and may not be able implement     our
business plan or generate any revenue from sales of our products.

Mr. Diehl does not have experience running an apparel company and has never been an officer or director of an apparel company.
 Accordingly, Mr. Diehl may not be able to implement our plan or generate any revenue from the sale of our intended products. There
can be no assurance that we will be able to attract and hire officers or directors with experience in the apparel industry to implement
the business plan in the event that Mr. Diehl is otherwise successful in doing so.


(18) We may not be able to implement our business plan with the stated amount and use of proceeds and may be required to raise
additional capital which may not be available for a developmental company.


The use of proceeds section contained herein represents our stated allocation of the net proceeds from this offering based upon the
current state of our business operations, current plans, and the current economic and industry conditions. We will not have any
discretion to spend the proceeds in any manner inconsistent with the stated allocation of proceeds in the use of proceeds table
contained herein. The amounts and timing of our actual expenditures will depend on numerous factors, including the status of our
development efforts, sales and marketing activities, the amount of cash generated or used by our operations, our competition and the
other factors described in this "Risk Factors" section. In the event that we experience negative results from our sales and marketing
efforts, we may determine that we are in need of more working capital in order to implement the growth strategy and milestones set
forth herein. There are no assurances that we will be able to raise additional capital from any institution or individual investors.



                                 A NOTE CONCERNING                FORWARD-LOOKING               STATEMENTS

This prospectus contains forward-looking   statements about Swingplane Ventures, Inc. business, financial condition, and prospects that
reflect Swingplane Ventures, Inc. management's assumptions and beliefs based on information               currently available. Swingplane
Ventures, Inc. can give no assurance that the expectations indicated by such forward-looking        statements will be realized. If any of
Swingplane Ventures, Inc. assumptions should prove incorrect, or if any of the risks and uncertainties underlying such expectations
should materialize, the actual results may differ materially from those indicated by the forward-looking    statements.
The key factors that are not within   Swingplane   Ventures     Inc.'s control   and that may have a direct bearing on operating results include,
but are not limited to, acceptance of the products that Swingplane Ventures, Inc. expects to market, Swingplane Ventures Inc.'s ability
to establish a customer base, management's ability to raise capital in the future, the retention of key employees and changes in the
regulation of the industry in which Swingplane Ventures, Inc. functions.

There may be other risks and circumstances         that   management may be unable to predict to sustain operations. When used in this




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prospectus, words such as, "believes," "expects," "intends," "plans," "anticipates," "estimates" and similar expressions are intended to
identify and qualify forward-looking  statements, although there may be certain forward-looking    statements not accompanied by such
expressions.


Item    4.Use of Proceeds.
Selling all of the shares in the offering will result in $35,000 gross proceeds to Swingplane Ventures Inc. We will disburse the
proceeds from this offering in the priority set forth below within the first 12 months after successful completion of this offering.
 We will not have any discretion to spend the proceeds in any manner inconsistent with the stated allocation of proceeds in the use of
proceeds table below.



                        Application   of Proceeds                       $                        % of Total

Total Offering       Proceeds                                                         35,000             100.00

Offering     Expenses
Legal & Professional Fees                                                              1,500                  4.39
Accounting Fees                                                                        2,500                  7.14
EDGAR Fees                                                                               700                  2.00
Blue-sky Fees                                                                            800                  2.29
Total Offering Expenses                                                                5,500              15.71

Net Proceeds from Offering                                                            29,500              84.29

Use of Net Proceeds
Accounting  fees                                                                       2,500                  7.14
Legal and Professional Fees                                                            1,000                  2.86
Office Equipment and Furniture                                                             0                  0.00
Office Supplies                                                                          500                  1.43
Product Development                                                                    7,000              20.00
Wages/Contractors                                                                      6,000              17.14
Salesand Marketing                                                                     8,000              22.86
Working    Capital                                                                     4,500              12.86
Total Use of Net Proceeds                                                             29,500              84.29

Total   Use of Proceeds                                                               35,000             100.00



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Item   5.Determination      of Offering Price.

The offering price of the common stock has been arbitrarily determined and bears no relationship to any objective criterion of value.
The price does not bear any relationship to Swingplane Ventures Inc 's assets, book value, historical earnings, or net worth. In
determining the offering price, management considered such factors as the prospects, if any, for similar companies, anticipated results
of operations, present financial resources and the likelihood of acceptance of this offering.

Item   6. Dilution.
"Dilution" represents the difference between the offering price of the shares of common stock and the net book value per share of
common stock immediately after completion of the offering. "Net Book Value" is the amount that results from subtracting total
liabilities from total assets.In this offering, the level of dilution is increased as a result of the relatively low book value of Swingplane
Ventures Inc.'s issued and outstanding stock. This is due in part because of the common stock issued to the Swingplane Ventures, Inc.
officer, director, and employee totaling 10,000,000 shares at par value $0.001 per share versus the current offering price of $0.01per
share. Please refer to the section titled "Certain Transactions", herein, for more information. Swingplane Ventures, Inc. net book value
on March 31, 2011 was ($1,252). Assuming all 3,500,000 shares offered are sold, and in effect Swingplane Ventures, Inc. receive the
maximum estimated proceeds of this offering from shareholders, Swingplane Ventures, Inc. net book value will be approximately
$0.0021 per share. Therefore, any new investor will incur an immediate and substantial dilution of approximately $0.0079 per share
while the Swingplane Ventures, Inc. present stockholder will receive an increase of $0.0022 per share in the net tangible book value of
the shares that he holds. This will result in a 75% dilution for purchasers of stock in this offering.

This table represents a comparison of the prices paid by purchasers of the common              stock in this offering   and the individual     who
purchased shares in Swingplane Ventures, Inc. previously:


Existing   Shareholder      Per Share Data based on the maximum        offering


Price Per Share                                                                                                            $                  0.001

Net Tangible    Book Value Per Share Before the Offering                                                                   $                  0.000

Potential gain to existing shareholders                                                                                    $                 0.0022

Net Tangible    Book Value Per Share After the Offering                                                                    $             0.0021

Increase in tangible book value per share to Original Shareholders                                                         $                 0.0022

Capital Contributions                                                                                                      $                 10,000

Number of Shares outstanding before offering                                                                                         10,000,000

Number of Shares after offering      held by existing shareholders                                                                   10,000,000

Percentage of Ownership       after offering                                                                                                  74%

Purchasers     Per Share Data and Ownership        of Shares in this offering     based on the maximum    offering


Price Per Share                                                                                                            $                  0.01

Dilution per share                                                                                                         $             0.0079


Net Capital Contributions                                                                                                  $             29,500




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Percentage of capital Contributions       (gross)                                                                                       75%

Number of shares after offering held by Public investors                                                                           3,500,000

Percentage of ownership after offering                                                                                                  26%

Item   8.Plan   of Distribution.

Offering will be Sold by Our Officer and Director.
This is a selSunderwritten         offering. This Prospectus is part of a Prospectus that permits our officer and director to sell the Shares
directly to the public, with no commission or other remuneration payable to him for any Shares he sells. There are no plans or
arrangena:nts to emer into any contracts or agreements to sell the Shares with a broker or dealer. Matt Diehl, the sole officer and
director, will seH the shares and intends to offer them to friends, family members and acquaintances. In offering the securities on our
behalf, Ma Dies u di cely on the safe harbor from broker dealer registration set out in Rule 3a4-1 under the Securities Exchange Act



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of 1934. In his endeavors to sell this offering, Mr. Diehl does not intend to use any mass-advertising            methods such as the Internet or
print media.


Mr. Diehl will not register as a broker-dealer  pursuant to Section 15 of the Securities Exchange Act of 1934, in reliance upon Rule
3a4-1, which sets forth the conditions under which a person associated with an Issuer, may participate in the offering of the Issuer's
securities and not be deemed to be a broker-dealer.

   a. Mr. Diehl is an officer and director and is not subject to a statutory disqualification, as that term is defined in Section 3(a)(39)of
the Act, at the time of his participation; and

   b. Mr. Diehl is     an officer and director and will not be compensated in connection with his participation                 by the payment    of
commissions     or other remuneration based either directly or indirectly on transactions in securities; and

   c. Mr. Diehl is an officer   and director   and is not, nor will he be at the time of his participation   in the offering,   an associated person
of a broker-dealer;    and
   d. Mr. Diehl is an officer and director and meets the conditions of paragraph (a)(4)(ii) of Rule 3a4-1 of the Exchange Act, in that he
(A) primarily performs, or is intended primarily to perform at the end of the offering, substantial duties for or on behalf of our
company, other than in connection with transactions in securities; and (B) is not a broker or dealer, or been associated person of a
broker or dealer, within the preceding twelve months; and (C) has not participated in selling and offering securities for any Issuer
more than once every twelve months other than in reliance on Paragraphs (a)(4)(i) (a) (4) (iii).


Our officer, director, control person and affiliates   of same do not intend to purchase any shares in this offering.

Terms   of the Offering

Swingplane Ventures, Inc. ("Company") is offering on a best-efforts basis a maximum of 3,500,000 shares of its common stock at a
price of  $0.01per share. This is the initial offering of Common Stock of Swingplane Ventures, Inc. and no public market exists for the
securities being offered. The Company is offering the shares on a "self-underwritten",       best-efforts all or none basis directly through
our officer and director. The shares will be offered at a fixed price of $.01 per share for a period not to exceed 180 days from the date
of this prospectus. There is no minimum number of shares required to be purchased. This offering is on a best effort, all-or-none basis,
meaning if all shares are iTót sold and the total offering amount is not deposited by the expiration of the offering, all moniés will be
returned to investors, without interest or deduction. Matt Diehl, the sole officer and director of Swingplane Ventures Inc., intends to
sell the sharesdirectly. No commission or other compensation related to the sale of the shareswill be paid to our officer and director.
The intended methods of communication         include, without limitations, telephone, and personal contact. For more information, see the
section titled "Plan of Distribution" and "Use of Proceeds" herein.


The Officer and director of the issuer and any affiliated     parties thereof will not participate in this offering.


The offering shall terminate on the earlier of (i) the date when the sale of all 3,500,000 shares is completed or (ii) one hundred and
eighty (180) days from the date of this prospectus. Swingplane Ventures, Inc. will not extend the offering period beyond one hundred
and eighty (180) days from the effective date of this prospectus.


There can be no assurance that all, or any, of the shares will be sold. As of the date of this Prospectus, Swingplane Ventures, Inc. has
not entered into any agreements or arrangements for the sale of the shares with any broker/dealer or sales agent. However, if
Swingplane Ventures, Inc. were to enter into such arrangements, Swingplane Ventures, Inc. will file a post effective amendment to
disclose those arrangements because any broker/dealer participating in the offering would be acting as an underwriter and would have
to be so named in the prospectus.


In order to comply with the applicable securities laws of certain states, the securities may not be offered or sold unless they have been
registered or qualified for sale in such states or an exemption from such registration or qualification requirement is available and with
which Swingplane Ventures, Inc. has complied. The purchasers in this offering and in any subsequent trading market must be
residents of such states where the shares have been registered or qualified for sale or an exemption from such registration or
qualification requirement is available. As of the date of this Prospectus, Swingplane Ventures, Inc. has not identified the specific states
where the offering will be sold. Swingplane Ventures, Inc. will file a pre-effective amendment indicating which state(s) the securities
are to be sold pursuant to this registration statement.




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Deposit   of Offering       Proceeds

The proceeds from the sale of the shares in this offering will be payable to Law Office of Clifford J. Hunt, P.A.,Trust Account IOTA
("Trust Account") and will be deposited in a non-interest bank account until the minimum offering proceeds are raised. All
subscription agreements and checks should be delivered to Law Office of Clifford J. Hunt, P.A.,8200 Seminole Boulevard, Seminole,
Florida 33772. Failure to do so will result in checks being returned to the investor, who submitted the check. All subscription funds
will be held in the Trust Account pending and no funds shall be released to Swingplane Ventures, Inc.until such a time as the entire
offering is sold. If the entire offering is not sold and proceeds received within one hundred and eighty (180) days of the date of this
prospectus, all subscription funds will be returned to investors promptly without interest or deduction of fees. The fee of the Trust
Agent is $1,000.00. (See Exhibit 99(b)).


Procedures     and Requirements for Subscription


Prior to the effectiveness of the Registration Statement, the Issuer has not provided potential purchasers of the securities being
registered herein with a copy of this prospectus. Investors can purchase common stock in this offering by completing a Subscription
Agreement (attached hereto as Exhibit 99(a)) and sending it together with payment in full to Law Office of Clifford J. Hunt P.A.,
Trust Account IOTA, 8200 Seminole Boulevard Seminole, Florida 33772. All payments are required in the form of United States
currency either by personal check, bank draft, or by cashier's check. There is no minimum subscription requirement. Swingplane
Ventures, Inc. reserves the right to either accept or reject any subscription. Any subscription rejected within this 30-day period will be
returned to the subscriber within five business days of the rejection date. Furthermore, once a subscription agreement is accepted, it
will be executed without reconfirmation to or from the subscriber. Once Swingplane Ventures, Inc. accepts a subscription, the
subscriber cannot withdraw it.


Item   9.Description        of Securities to be Registered.
Swingplane  Ventures Corporation's authorized capital stock consists of 70,000,000 shares of common stock with a par value $0.001,
and 5,000,000 shares of preferred stock with a par value $0.001 per share.

COMMON           STOCK

Swingplane Ventures Corporation's          autliorized capital stock consists of 70,000,000 shares of common stock, with a par value of
$0.001 per share.
The holders of our common stock:

   1.Have equal       ratable rights to dividends from funds legally available therefore, when, as and if declared by the Board of Directors;
   2. Are   entitled to share ratably in all of assets available for distribution   to holders of common stock upon liquidation, dissolution,    or

       winding    up of corporate affairs;

   3. Do not have preemptive, subscription or conversion rights and there are no redemption            or sinking fund provisions   or rights; and
   4. Are entitled to one vote per share on all matters on which stockholders may vote.

NON-CUMULATIVE                 VOTING

Holders of Swingplane Ventures, Inc. common stock do not have cumulative voting rights,which means that the holders of more than
50% of the outstanding shares, voting for the election of directors, can elect all of the directors to be elected, if they so choose, and, in
such event, the holders of the remaining shareswill not be able to elect any of Swingplane Ventures, Inc. directors. After this offering
is completed, and assuming all 3,500,000 sharesbeing offered are sold, present stockholders will own approximately 74% of our
outstanding    shares.


PREFERRED STOCK

Swingplane Ventures, Inc. has no current plans to either issue any preferred stock or adopt any series, preferences, or other
classification of the 5,000,000 sharesof preferred stock authorized with a par value $0.001 as stated in the Articles of Incorporation.
The Board of Directors is authorized to (i) provide for the issuance of sharesof the authorized preferred stock in series and (ii) by
filing a certificate pursuant to the laws of Nevada, to establish from time to time the number of shares to be included in each such
series and to fix the designation, powers, preferences and rights of the sharesof each such series and the qualifications, limitations or
restrictions thereof, all without any further vote or action by the stockholders. Any sharesof issued preferred stock would have priority
over the common stock with respect to dividend or liquidation rights. Any future issuance of preferred stock may have the effect of



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delaying, deferring, or preventing a change in control of the company without further action by the stockholders and may adversely
affect the voting and other rights of the holders of common stock.


The issuance of shares of preferred stock, or the issuance of rights to purchase such shares, could be used to discourage an unsolicited
acquisition proposal. For instance, the issuance of a series of preferred stock might impede a business combination by including class
voting rights that would enable the holder to block such a transaction, or facilitate a business combination by including voting rights
that would provide a required percentage vote of the stockholders. In addition, under certain circumstances, the issuance of preferred
stock could adversely affect the voting power of the holders of the common stock. Although the Board of Directors is required to
make any determination to issue such stock based on its judgment as to the best interests of stockholders, the Board of Directors could
act in a manner that would discourage an acquisition attempt or other transaction that potentially some, or a majority, of the
stockholders might believe to be in their best interests or in which stockholders might receive a premium for their stock over the then
market price of such stock. The Board of Directors does not at present intend to seek shareholder approval prior to any issuance of
currently authorized stock, unless otherwise required by law or stock exchange rules.

PREEMPTIVE          RIGHTS

No holder of any shares of Swingplane Ventures, Inc. stock has preemptive or preferential rights to acquire or subscribe for any shares
not issued of any class of stock or any unauthorized securities convertible into or carrying any right, option, or warrant to subscribe for
or acquire shares of any class of stock not disclosed herein.
CASH DIVIDENDS

As of the date of this prospectus, Swingplane Ventures, Inc. has not paid any cash dividends to stockholders. The declaration of any
future cash dividend will be at the discretion of the Board of Directors and will depend upon earnings, if any, capital requirements and
financial position, general economic conditions, and other pertinent conditions. Swingplane Ventures, Inc. does not intend to pay any
cash dividends in the foreseeable future, but rather to reinvest earnings, if any, in business operations.
REPORTS

After this offering, Swingplane Ventures, Inc. will furnish its shareholders with annual financial reports certified by independent
accountants, and may, at its discretion, furnish unaudited quarterly financial reports.


Item   10.Interest of       Named Experts   and Counsel.


None of the below described experts or counsel have been hired on a contingent        basis and none of them will receive a direct or
indirect interest in the Company.


Our audited financial statement for the period from inception to June 30, 2010, included in this prospectus has been audited by Peter
Messineo Certified Public Accountant, PCAOB- Registered Auditor, 1982 Otter Way, Palm Harbor, Florida 34685. We included the
financial statements and report in their capacity as authority and experts in accounting and auditing.


Clifford J. Hunt, Esquire is counsel for our Company who has given an opinion on the validity of the securities being registered,
which opinion appears elsewhere in this registration statement. Mr. Hunt has no direct or indirect interest in us.

1tem   11. Information with       Respect to the Registrant.

Description    of Business
General Information

Swingplane Ventures, Inc. was incorporated in the State of Nevada on June 24, 2010 under the samename. Since inception,
Su ingplane Ventures, Inc. has not generated any revenues and has accumulated losses in the amount of $0.00 as of June 30,         2010.
swingplane Ventures, Inc. has never been party to any bankruptcy, receivership        or similar proceeding, nor have it undergone any
material reclassification, merger, consolidation, purchase or sale of a significant   amount of assets not in the ordinary course of
business.



Swingplane Ventures, Inc. has yet to commence planned operations to any significant measure.As ofthe date of this Registration
Statement, Swingplane Ventures, Inc. has had only limited start-up operations and has not generatedrevenues. The Company will not
be profitable until it derives sufficient revenues and cash flows from garment sales. We believes that, if we obtain the proceeds from




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this offering, we will be able to implement the business plan and conduct business pursuant to the business plan for the next twelve
months. Swingplane Ventures Inc.'s administrative office is located at 220 Summit Blvd. #402, Broomfield, CO 80021. Swingplane
Ventures Inc 's fiscal year end is June 30.


Business Overview

Swingplane Ventures Inc. is a development stage men's and women's golf fashion manufacturer located in Broomfield, Colorado. The
Company intends for its initial clothing line to consist of tailored-fit golf shirts. The use of lightweight and breathable fibers that the
Company intends to use could position the Company among larger companies in a competitive market. We plan to stay on the cutting
edge of the constantly changing golf apparel market and create a reputation with the consumer of providing unique and desirable
designs at affordable prices. This market dictates that new styles and designs be introduced on a regular basis, which is part of our
long term strategy.


Our initial designs are planned to be tailored-fit men's golf shirts with shorter sleeves and unique design patterns. Mr. Diehl currently
has design concepts and upon the successful completion of this offering we intend to search for professional assistance to turn these
concepts into prototypes. We intend to market the designs under the "Swingplane" brand. Because of its fit, fibers, and design, our
target market for this garment is the 15 - 35 year old male golfer as an alternative to other brands.


Current Management          is comprised of Matt Diehl, CEO and President. Mr. Diehl has over 10 years of experience in working with both
small and development stage companies as well as larger established companies. These companies include SendPhotos, Inc. and large
companies like JPMorgan Chase. Prior to the last 5 years, Mr. Diehl sold financial products for JPMorgan Chase and was on the
Board of Governors of the Metro Denver Economic Development Corporation representing Chase. Mr. Diehl is an avid golfer and
fashion aficionado. Mr. Diehl distributes part of his time towards the everyday operations and forward movement of the corporation.
Acknowledging       the inherent risks involved in fashion design, we will assessthe need for any patents or trademarks on a continuing
basis to protect   our main design(s). Once the process is initiated, designs are initially protected under the Patent Pending Process
provision while    completing the full patenting process. This protection will cover the United States, initially, also giving first priority
to the European    Community.

Distribution

The Company plans to initially       focus its effort of distribution   through online sales directly to the consumer. With our limited
resources, the cost efficiencies involved in online sales is our targeted method for the distribution of our products. The company has
secured a distinctive URL (web address) in www.swineplaneventures.com. A portion of the funds raised by this offering (see "Use of
Proceeds") will go toward developing our website. Currently, the company does not have a website in place but desires to build a
website upon completion of this offering. The Company anticipates hiring an outside third party web developer to design and build
the website. We have used the Price Quote Calculator at WebPageFX (www.webpacefx.com)                to estimate the cost of a fully
functioning website with ecommerce functionality to be between $5,000 and $9,000. While it is possible that the costs for a fully
functional website could greatly exceed $5,000 to $9,000, we believe that we can have a third party web development company build
a website to our specifications that will generate revenues for a price in that range. Such a website would be comprised of company
information, every product that we offer, and the ability to generate sales with just a few clicks of the mouse. The proposed website
would also include efforts by the Company to engage in SEO (Search Engine Optimization) and cross-marketing/linking               with other
golf-related websites to drive traffic to www.swineplaneventures.com.      At this time, no other websites or companies have been
engaged, negotiated with, or contracted to participate in cross-linking or cross-marketing with the Company with regard to website
related activities.


Product   Development

The original thought behind the design/concept was to target young golfers who are looking for stylish and comfortable golf apparel at
reasonable prices. The current design incorporates the use of breathable microfibers and design and fit desireable to today's younger
golfers. We hope that these successful design elements and company branding will create a unique distinction for Swingplane
Ventures in this competitive market.


Long term goals include the development of a full line of this innovative golf apparel comprised of shirts, pants, shorts, skirts, and
hats. The addition of other products such as shorts, skirts, and headwear are planned long term activities that depend entirely on
future financing and thus may not occur. Swingplane Ventures plans to offer fits, fabrics, and designs that younger golfers should find
desirable and at a reasonableprices.




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Clearly defined goals, both short and long term, will be an intricate part of the daily decision making process within the organization.
It is with these defined goals in mind that allows Swingplane Ventures to feel confident with the many decisions required to maintain
progressive working concepts. Within the next 12 months, Swingplane Ventures plans to have all current design board projects
patterned, prototyped, and manufacturing requirements completed for direct markets.




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Industry Analysis and Competition
Industry and Trend Analysis

According to Sundale Research's State of the Industry: Golf Equipment in the U.S, report, published June of 2006, "changing
demographics in the golf industry are causing a shift in golf fashions. High-tech golfwear like haute-tailored wet and wind resistant
outfits and trendy footwear and gloves are driving sales." The report goes on to say that sales of these products are expected to be
more than 2.4 billion in 2010. Professional golfers are the primary source for the changes in style popularity and fabrics that younger
golfers are seeking. One needs only to look at the top players in the world to see the youthful, tailored-fit styles that the pros are
wearing. The market for tailored and dry-fabric golf clothing has balooned since J. Lindeberg first hit the scene in 1997 with its
pioneering golf line worn by young professional golfers. Note: the most popular tour professionals with youth today are under 35
years old. These younger amateur golfers are our market. A copy of Sundale Research's State of the Industry report is included as an
exhibit to this prospectus.


With prices now ranging from $75 to $125 for a high-end golf polo shirt, it's no wonder that new brands are emerging all the time,
each trying to distinguish itself with different fabrics, cuts, fits, designs, and branding elements. As long as customers continue to want
the next, best, latest golf clothing without much resistance to higher prices, the golf garment market will continue to provide
opportunity for smaller independent manufacturers trying to acquire market share, especially when combining those elements with a
lower price point.


There is no doubt as to the popularity of high end golf apparel evidenced by the success of J.Lindeberg, a company whose golf shirts
and pants set the tone for the look that younger golfers are seeking. Other companies such as Adidas, Puma, Nike, Ecco, Ashworth,
Cutter & Buck, and Sligo have also enjoyed recent success attributed to the popularity of their design elements and fabrics. The
market for high end golf apparel is highly competitive.     As a smaller company, Swingplane Ventures will need to provide equal style
and comfort at a lower price than the brands mentioned above to be competitive. Most of our competitors have much greater financial
resources and longer operating histories than we do and as a result may be able to offer their apparel at lower prices. While we will
strive to find the lowest prices for fabric and design, there are no assurances that we will be able to do so. If we are not able to offer
lower priced clothing with popular styling, we will be forced to compete with other manufacturers that have higher budgets for
marketing and as such will have a competitive advantage. Since we have not commenced planned operations to any significant
measure and have not generated revenues, we do not presently possess any market share of salesgenerated in the industry.


As the next generation of golfers mature, they are demanding all their golf apparel be stylish, tailored-filling, and reasonably priced.
There are more women and girls taking up golf than ever before and yet the bulk of stylish and tailored-fit golf clothing are driven
towards the aging male market. By utilizing high quality breathable "dry" materials and desirable fits and designs, Swingplane
Ventures hopes to gain popularity with the younger generation of golfers - both male and female.


Delineation   of the Market   Area and identification   of Target   Markets

According to National Golf Foundation (http://www.golflink.com/facts_6346_many-people-play-golf-usa.html),       nearly 29 million
people play golf in the United States alone, and that number has remained between 25 and 30 million since 2000. However, due to the
fit, fabric, and graphics of our designs, Swingplane Ventures hopes to grow quickly with its sales and marketing efforts becausenon-
golfers will also find the clothing to be comfortable, cool, and stylish. The apparel of Swingplane Ventures may cross over in the
active/leisure market, tennis market, and other markets where simply looking good in casual wear is desired. We intend to introduce
a garment line into the fashion market that may increase our sales possibilities,   with the ability ofthe consumer to choose its style
preference within our line.

Fashion industry marketing seems to have only one worldwide boundary, the demarcation between developed and undeveloped
countries. The planned market areas will include North America, South America, Europe, Australia, and Asia.
     1. Young     Men and Women Aged 15 to 21: This is the main target sales demographic to be exploited by Swingplane Ventures
          Inc. These young golfers are pre-budget age and tend to be spontaneous wave buyers. Their purchases are predicated on
          what is being bought by their friends and little attention is given to cost especially within the $20.00 $50.00 pricing range.
                                                                                                                  -


          Most of Swingplane Ventures fashions will be priced within that range.
     2. College Men and Women: A           large number of college-aged men and women play golf, tennis, and dress active/casual on   a
          daily basis. With the introduction of garments in school colors, traditional school support can also be realized, offering an
          emotional purchase. Additionally, with a lower price point than our competition but a look that is very aggressively styled
          for this group, these garments can be worn off the golf course to class and other activelleisure activities.
     3. Women Golfers         Aged 25 to 45 : These women make up a large part of the main demographic because this is the demographic




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       that is calling for more stylish and better fitting activewear at more affordable   prices. Despite the offerings by our
       competitors,   there is an apparent lack in the affordable golf apparel market for women. Through aggressive styling, form-



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            fitting/tailored-fitting, "dry" breathable fabrics, and lower price points than similar garments by other companies, Swingplane
            Ventures aims to meet the exacting needs of today's women golfers.
     4. Men Golfers       Aged 25 to 45: These men make up an important part of our main demographic becausethey purchase more
            golf clothing than any other segment. Because the garments are not only uniquely stylish, but also very functional and
            practical for all forms of exercise, the loyal demands of the active market can be met.


Marketing
In its long term planning, Swingplane Ventures will employ three (3) major marketing strategies in an effort to gain market share in
the active/leisure market. Online marketing via the Internet will be utilized initially, followed in the future with an outside
commissioned sales force and print media ads. The long term marketing phases of a commissioned sales force and print ad campaigns
may be entirely dependent on future financing and thus may not occur. These strategies are listed in order of budget requirement to
allow Swingplane Ventures the ability to use revenues gained from the most cost effective method of marketing (online via internet) to
fund the more expensive but valuable method of marketing (commission sales) and subsequently using revenues from both of the
previous to fund the most expensive and very effective form of marketing and product branding (print media). However, it should be
noted that there may not be enough revenues from online marketing to completely fund either the sales force or print ad campaigns.
 Again, these may be partially or completely dependent on future financing and thus may not occur.

Online Marketing

Americans spent more online on clothing in 2006 than they did on computer hardware and software for the first time in history,
according to the National Retail Federation's article, stating the first part of"The State of Retailing Online 2007," the tenth annual
Shop.org study conducted by Forrester Research, which surveyed 170 retailers. To read the article online, please visit
http://www.nrf.com/modules.php?name=news&op=viewlive&sp_id=292.


And, according to the U.S. Census Bureau, "E-Stats, 2008 E-commerce Multi-sector Report" (published May 2010), online clothing
and clothing accessories sales grew from $2.061 billion in 2007 to $2.539 billion in 2008. That report can be found online at the
following URL:

http://www.census.go/compendia7statab/cats/wholesale          retail trade/online   retail sales.html

Also, the overview report can be found at URL:

http://www.census.gov/econ/estats/index.html


This report shows tables with the overall growth of online sales from 2000 to 2008 which the Company finds very encouraging.
Given the above statistic along with the relative ease and cost effectiveness in creating an online marketing presence, Swingplane
Ventures feels that once the garments have been produced, it can start generating revenues with comparatively little cash outlay.
Through the online tools offered by companies like Google, E-Bay, and Craig's List, Swingplane Ventures will be able to reach a
global audience with the same capital as used to be necessary to reach a very local limited market.
Additionally, social media outlets such as Twitter, Facebook, MySpace, and many others have opened up a new and powerful method
for shoppers to share their likes and dislikes for products. Properly placed and managed social media networks for the company will
provide Swingplane Ventures with tools to generate revenue from online purchases with comparatively little cash outlay.

Commissioned       Sales Force

Once revenues are generated from online sales and a full line of products have been prototyped, developed, and produced, Swingplane
Ventures's plan is to implement sales via an outside commissioned sales force. The only costs to the company is the creation of
samples for each and every sales person to have as well as print media to properly promote all of the products. With the introduction          -
of a full fashion line, Swingplane Ventures plans to be represented in all major fashion marts located in Los Angeles, Chicago, New
York, and Dallas. All formal representation will be done on a commission basis.With available investment capital, it will be possible
to supply all major distributors with the necessary samples for proper displaying. Additionally,  commissioned salespeople will
contact golf clubs via telephone to introduce the club managers to our offerings and drive them to the company website. Swingplane
Ventures has set goals to be represented in hundreds, or even thousandsof golf coursesand clubs around the country. Currently,
Swingplane Ventures does not have any representation in any golf courses or golf clubs.




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Print Media

In order to properly brand the Swingplane Ventures products an extensive print media campaign will have to be utilized. The pitfall to
this method of marketing and branding is the relative high cost when compared to online marketing and commissioned sales.
Although online sales growth statistics are overwhelmingly     positive, strong competitors in the apparel industry still rely on traditional
print media for product marketing and more importantly, product branding. Advertising statistics show that a consumer generally
needs to see a product 4 6 times prior to actively participating in a purchase. Most rate cards for monthly publications are designed
                          -



for the advertiser to purchase 6 consecutive months of advertising space to be effective in achieving its marketing/branding      goal.
Media advenising will be monitored closely and handled as efficiently as possible. With magazine advertising costs mentioned above,
publications will be carefully selected. Joint advertising campaigns will be sought out between Swingplane Ventures and larger



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distributors such as department stores. We do not currently have any joint advertising campaigns with larger distributors. Joint
campaigns are a viable way to stretch the advertising dollar. Markets intended to be covered in our monthly media effort will include
golf, sports, tennis, youth athletics, and casual wear worlds. With the associated costs, photography and models, a six month print
media campaign can be quite expensive for our Company at the present. Swingplane Ventures has done the necessary due diligence
on this marketing medium and plans to incorporate this in our next phase of operations.

12 Month Growth Strategy and Milestones


Our mission is to maximize shareholder value through expanding the scope of operations and evaluating and cultivating new and
alternative revenue generating opportunities. The Company is committed to development of new and innovative products. While a
strategic and wisely executed marketing campaign is key to expanding our wholesale and retail customer base; providing          new, cutting-
edge, innovative products will position the Company in the best possible way for long term success.


The Company planned the goals and milestones based on raising $35,000 through this offering. We have taken careful consideration
to budget the $35,000 to sustain operations for a twelve-month period following the closing of this offering. However, there are no
assurances that we will be able to sustain operations for a twelve-month period with $35,000.00 of paid in capital regardless of our
careful planning. In the event that we do not realize the full proceeds from this offering and are required to promptly return investor
subscription proceeds, we will be forced to scale back our efforts to accomodate for a reduced amount of capital from other potential,
yet unknown, sources. In this event, the Company plans to have a strategic planning session to budget for this shortfall.


We may determine that we are in need of more working capital in order to implement          the growth strategy and milestones set forth
herein. We will not have any discretion to spendthe proceeds in any manner inconsistent with the stated allocation of proceeds in the
use of proceeds table contained herein. There are no assurancesthat we will be able to raise additional capital from any institution or
individual investors.




Note: The Company planned the milestones basedon quarters following           the closing of the offering.

Quarter
0-3 Months

    •     Finish garment designs currently proposed
    •     Create patterns and prototypes
    •     Explore online marketing options
    •     Interview   Photographers   and Models
4-6 Months

    •     Begin development     of Online Marketing Website
    •     Hire photographer and determine photo shoot layout
    •     Hire models and prepare garments for photo shoot
    •     Continue design work on initial product line
    •     1st Photo Shoot

    •   Negotiate for online merchant account
7-9 Months

    •     Purchase garments for sale and promotional distribution   efforts
    •     Finish Website "look and feel" design with full e-commerce
    •     Add content to website from photo shoot
    •     Integrate shopping cart for online sales

    •   Determine      online marketing   venues basedon budget (Google, E-Bay;     vertical apparel markets)
10-12 Months

    •     Analyze online marketing and make necessary changes for increased sales




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    •    Continue to develop design ideas for long term product line
    •    Prepare for year 2 marketing and possible long term introduction     of commissioned sales force

Patents and Trademarks

At the present we do not have any patents or trademarks.

Acknowledging     the inherent risks involved in fashion design, we will assess the need for any patents or trademarks on a continuing
basis to protect our main design(s). Once the process is initiated, designs are initially protected under the Patent Pending Process
provision while completing the full patenting process. This protection will cover the United States, initially, also giving first priority
to the European Community.


Need for any Government Approval      of Products   or Services
We do not require any government approval for our products or services.



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Research and Development Activities

Other than time spent researching our proposed business the Company has not spent any funds on research and development activities
to date. Swingplane Ventures does plan to spend funds on Product Development as detailed in sections titled "Use of Proceeds",
"Description  of Business" and "Management's Discussion and Analysis or Plan of Operation".

Environmental      Laws

Our operations are not subject to any Environmental        Laws.


Employees and Employment Agreements

We currently have one employee, our executive officer, Matt Diehl who currently devotes 10 hours a week to our business and is
responsible for the primary operation of our business. There are no formal employment agreements between the company and our
current employee.



Description     of Property
We do not own any real property. Our business is presently operated from the residence of our President located at 220 Summit Blvd.
#402, Broomfield, CO 80021. Mr. Diehl, the sole officer and director of the Company provides the office space free of charge and no
lease exists. We consider our current principal office space arrangement adequate and will reassess our needs based upon the future
growth of the-company.

Legal Proceedings

We are not currently a party to any legal proceedings nor are any contemplated by us at this time.
Market    Price of and Dividends on the Company's           Common        Equity and Related Stockholder   Matters

No public market currently exists for shares of our common stock. Following completion of this offering, we intend to apply to have
our common stock listed for quotation on the Over-the-Counter  Bulletin Board.

Impact    of the "Penny Stock" Rules-On       Buying Or Selling Our Common Stock
The Securities and Exchange Commission has adopted rules that regulate broker-dealer practices in connection with transactions in
penny stocks. Penny stocks are generally equity securities with a price of less than $5.00 (other than securities registered on certain
national securities exchanges or quoted on the Nasdaq system, provided that current price and volume information with respect to
transactions in such securities is provided by the exchange or system).

A purchaser is purchasing penny stock which limits the ability to sell the stock. The shares offered by this prospectus constitute penny
stock under the Securities and Exchange Act. The shares will remain penny stocks for the foreseeable future. The classification of
penny stock makes it more difficult for a broker-dealer to sell the stock into a secondary market, which makes it more difficult for a
purchaser to liquidate his/her investment. Any broker-dealer engaged by the purchaser for the purpose of selling his or her shares in
us will be subject to Rules 15g-1 through 15g-10 of the Securities and Exchange Act. Rather than creating a need to comply with
those rules, some broker-dealers will refuse to attempt to sell penny stock.

The penny stock rules require a broker-dealer, prior to a transaction in a penny stock not otherwise exempt from those rules, to deliver
a standardized risk disclosure document, which:

     •     Contains a description   ofthe nature and level of risk in the market for penny stock in both Public offerings and secondary
           trading;

     •     Contains a description of the broker's or dealer's duties to the customer and of the rights and remedies available to the
           customer with respect to a violation of such duties or other requirements of the Securities Act of 1934, as amended;

     •     Contains a brief, clear, narrative description of a dealer market, including    "bid" and "ask" price for the penny stock and   the
           significance of the spread between the bid and ask price;

     •    Contains a toll-free   number for inquiries   on disciplinary    actions;

     •    Defines significant    terms in the disclosure document or in the conduct of trading penny stocks; and

     •    Contains such other information and is in such form (including language, type, size and format) asthe Securities and
          Exchange Commission shall require by rule or regulation.




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The broker-dealer      also must provide, prior to effecting any transaction in a penny stock, to the customer:
     •       The bid and offer quotations for the penny stock;

     •       The compensation   of the broker-dealer   and its salesperson in the transaction;

     •       The number of shares to which such bid and ask prices apply, or other comparable       information   relating to the depth and
             liquidity of the market for such stock; and

     •       Monthly   account statements showing the market value of each penny stock held in the customer's        account.


In addition, the penny stock rules require that prior to a transaction in a penny stock not otherwise exempt from those rules; the
broker-dealer must make a special written determination that the penny stock is a suitable investment for the purchaser and receive the
purchaser's written acknowledgement of the receipt of a risk disclosure statement, a written agreement to transactions involving penny
stocks, and a signed and dated copy of a written suitability statement. These disclosure requirements will have the effect of reducing
the trading activity in the secondary market for our stock because it will be subject to these penny stock rules. Therefore, stockholders
may have difficulty   selling their securities.
REGULATION M

Our officer and director, who will offer and sell the Shares, is aware that he is required to comply with the provisions of Regulation M
promulgated under the Securities Exchange Act of 1934, as amended. With certain exceptions, Regulation M precludes the officers
and directors, sales agents, any broker-dealer or other person who participate in the distribution of shares in this offering from bidding
for or purchasing, or attempting to induce any person to bid for or purchase any security which is the subject of the distribution until
the entire distribution is complete.

Reports to Security Holders

We will file reports and other information with the U.S.Securities and Exchange Commission ("SEC"). You may read and copy any
document that we file at the SEC's public reference facilities at 100 F. Street, N.E.,Washington, D.C. 20549. Please call the SEC at
1-800-732-0330 for more information about its public reference facilities. Our SEC filings will be available to you free of charge at
the SEC's web site at www.sec.gov.


Management's Discussion         and Analysis    of Financial Condition     and Results of Operations

The following Management's Discussion and Analysis of Financial Condition          and Results of Operations contains forward-looking
statements   that involve risks and uncertainties. Our actual results could differ materially from those anticipated in these forward-
looking statements as a result ofvarious factors, including those set forth under "Risk Factors" and elsewhere in this report. The
management's discussion, analysis offinancial condition, and results of operations should be read in conjunction       with our financial
statements   and notes thereto contained elsewhere in this prospectus.

The accompanying financial statements have been prepared assuming the Company will continue as a going concern. As shown in the
accompanying financial statements, the Company has incurred an accumulated deficit of $11,252 for the period from inception to
March 31, 2011. As the Company's business operations have been focused on developing our business plan and market research, this
raises substantial doubt about the Company's ability to continue as a going concern.

The followingtable provides selected financial data about our company for the period from the date of inception through March 31,
2011. For detailed financial information, see the financial statements included in this prospectus.
Balance Sheet Data:



                                                                        March 31, June 30, 2010
                                                                             201l      (audited)
                                                                      (unaudited)
Cash                                                                        S 323        $ 10,000
Total assets                                                                $ 323          10,000
Total liabilities                                                           $1,575              0
Shareholders' Equity                                                      ($1,252)       $ 10,000




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Other than the shares offered by this prospectus, no other source of capital has been identified   or sought. If we experience a shortfall
in operating capital prior to funding from the proceeds of this offering, our director has verbally agreed to advance the company funds
to complete the registration process.

Plan   of Operation
Going Concern

The accompanying financial statements have been prepared assuming the Company will continue as a going concern. For the period
ended March 31,2011, Company has had no operations. As of March 31, 2011, the Company has not emerged from the
development stage. In view of these matters, the Company's ability to continue as a going concern is dependent upon the Company's
ability to begin operations and to achieve a level of profitability. The Company intends on financing its future development activities
and its working capital needs largely from the sale of public equity securities with some additional funding from other traditional
financing sources, including term notes until such time that funds provided by operations are sufficient to fund working capital
requirements.   The financial statements of the Company did not include any adjustments relating to the recoverability and
classification of recorded assets, or the amounts and classifications of liabilities that might be necessary should the Company be
unable to continue asa going concern. As shown in the accompanying financial statements, the Company has a working capital deficit
of $1,252, asof March 31, 2011 and the Company has incurred an accumulated deficit of $11,252 for the period from Inception to
March 31, 2011. These conditions raise substantial doubt about the Company's ability to continue as a going concern.

The future of the Company is dependent upon its ability to obtain financing and upon future profitable operations from the
development of its planned business. Management has plans to seek additional capital through a private placement and public offering
of its common stock. These conditions raise substantial doubt about the Company's ability to continue as a going concern. These
financial statements do not include any adjustments that might arise from this uncertainty.

The financial statements do not include any adjustments relating to the recoverability and classification of recorded assets, or the
amounts of and classification of liabilities that might be necessary in the event the Company cannot continue in existence.

As of May 27, 2011, the Company has $315 in cash and cash equivalents.
Proposed Milestones to Implement Business Operations

The following milestones are estimates only. The working capital requirements and the projected milestones are approximations only
and subject to adjustment based on costs and needs. However, we will not have any discretion to spend the proceeds of the offering in
any manner inconsistent with the stated allocation of proceeds in the use of proceeds table contained herein. Our 12 month budget is
based on minimum operations which will be completely funded by the $35,000 raised through this offering. If we begin to generate
profits we will increase our marketing and sales activity accordingly. We estimate sales to begin in the third quarter following closing
of the offering. Because our businessis driven by actual sales of garments, our revenue requirements will be reviewed and adjusted
based on those actual sales. The costs associated with operating as a public company are included in our budget. Management will be
responsible for the preparation of the required documents to keep the costs to a minimum.


The Company planned the goals and milestones based on raising $35,000 through this offering. We have taken careful consideration
to budget the $35,000 to sustain operations for a twelve-month period following the closing of this offering. However, there are no
assurances that we will be able to sustain operations for a twelve-month period with $35,000 of paid in capital regardless of our
careful planning. In the event that we do not realize the full proceeds from this offering and are required to promptly return investor
subscription proceeds, we will be forced to scale back our efforts to accomodate for a reduced amount of capital from other potential,
yet unknown, sources. In this event, the Company plans to have a strategic planning session to budget for this shortfall.
  We may determine that we are in need of more working capital in order to implement the growth strategy and milestones set forth
herein. However, we will not have any discretion to spend the proceeds from the offering in any manner inconsistent with the stated
allocation of proceeds in the use of proceeds table contained herein. There are no assurances that we will be able to raise additional
capital from any institution or individual investors.

We plan to complete our milestones as follows:
0-   3 MONTHS

Management will concentrate on the completion of the Registration Statement and finish the garment designs currently proposed. We
estimate this will cost approximately $3,000 and have budget this cost in the Wages/Contractor line item in the Use of Proceeds. The
Company will also start working on creating the patterns and prototypes. Swingplane Ventures estimates this will cost approximately
$2,000 and this amount is budgeted in the Product Development line item in the Use of Proceeds. Swingplane Ventures also plans to
explore online marketing options and interview photographers and models. The Company does not anticipate any fees associated with




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Directors    and Executive        Officers

Directors of the corporation        are elected by the stockholders      to a term of one year and serve until a successor is elected and qualified.
Officers of the corporation are appointed by the Board of Directors to a term of one year and serves until a successor is duly appointed
and qualified, or until he or she is removed from office. The Board of Directors has no nominating, auditing or compensation
committees.

The names and ages of our directors and executive officers are set forth below:
                                                             Directors   and Executive    Officers

Name                               Age          Position
Matthew     Diehl                  34           President, Secretary and Chairman of the Board of Directors          (1)
(1)   Mr. Diehl will serve as a director until the next annual shareholder meeting.

The term of office of each director of the Company ends at the next annual meeting of the Company's stockholders                    or when such
director's successor is elected and qualifies. No date for the next annual meeting of stockholders is specified in the Company's bylaws
or has been fixed by the Board of Directors. The term of office of each officer of the Company ends at the next annual meeting of the
Company's Board of Directors, expected to take place immediately after the next annual meeting of stockholders, or when such
officer's successor is elected and qualifies.
Background      of Executive       Officers   and Director

The following       information   sets forth the backgrounds     and business experience of the directors and executive officers.

MATTHEW DIEHL, PRESIDENT, SECRETARY                            AND CHAIRMAN          OF THE BOARD OF DIRECTORS

Mr. Diehl has over 10 years of experience in business development in both early stage and established companies like SendPhotos,
Inc. and large companies like JPMorgan Chase. From early 2002 to May of 2005, Mr. Diehl sold financial products, primarily home
mortgage loans as a Loan Officer, for JPMorgan Chase. Towards the end of his tenure there, from approximately September of 2004
through April of 2005, Mr. Diehl was on the Board of Governors of the Metro Denver Economic Development Corporation
representing Chase. As a member of this Board, Mr. Diehl voted on political and other measures to be performed on behalf of the
Board to grow economic development in and around the Denver metro area. He was not compensated for_his Board membership as
his efforts were volunteered on a monthly-meeting basis. In the last five years, he has worked with SendPhotos,Inc. as Director of
Sales and Operations from May of2005 until it was acquired by Avanquest Software in October of2006 and stayed on at Avanquest
as the Multimedia Sales Manger through October of2007. In those roles Mr. Diehl sold business-to-business software products and
direct-to-consumer   software products as well as assisting in general operations, web-site marketing and software product design. We
believe that this specific experience at SendPhotos, Inc. and subsequently with Avanquest Software makes Mr. Diehl an asset to the
Company as we begin design and development of our own website and online marketing strategies.

After that, he headed up the photo kiosk program for LifePics, Inc. as the Kiosk Product Manager, which entailed managing the
development of photo software for kiosk hardware. He managed a team of software developers as well as assisting in software product
design, website marketing and business-to-business sales. After growing that part of the business from January of 2008, that division
was broken up in October 2008. Again, the Company feels that Mr. Diehl's experience being part of a growing small business as well
as website design and online marketing strategies lends to the Company's current needs. Since then, he has been COO and a director
for TapSlide, Inc., where he is currently working on a part-time basis. Mr. Diehl devotes about 5-10 hours per week on TapSlide.
 TapSlide has a mobile software application for sale in the Apple App Store called Inked Magazine, which sells for $1.99 each.
 TapSlide has generated some revenues from this application and has operations, though not substantial, and is currently working to
catch up on its delinquent filings. In January 2010, Mr. Diehl started a limited liability company for his consultancy and business
development skills called AppVineyard, LLC in Colorado. He spendsthe majority                        of his time with his own company, AppVineyard,
LLC selling software applications and business development services.

Furthermore,    Mr. Diehl agreed on August 3, 2010 to come aboard temporarily,               as an Officer and Director, for PaperFree Medical
Solutions, Inc. in order to assist in the search for an Officer and Director more qualified than Mr. Diehl to move that company
forward. Mr. Diehl resigned from PaperFree Medical Solutions on November 16, 2010 and has no further involvement with the
Company whatsoever. It is the responsibility of PaperFree Medical Solutions to file a Form 8-K to disclose the resignation                 of Mr.
Diehl but unfortunately at the time of this statement, no such Form 8-K has been filed.

Mr. Diehl is an avid golfer and fashion aficionado. Becauseof his experience in business development, corporate growth and
expansion, and public company experience, the Company believes that Mr. Diehl is an ideal candidate for Director and Officer.                    Mr.
Diehl distributes part of his time towards the everyday operations and forward movement of the corporation.




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Beneficial   Ownership   Reporting   Compliance

Section 16(a) of the Securities Exchange Act of 1934 requires our directors and executive officers, and persons who own more than
ten percent of our common stock, to file with the Securities and Exchange Commission initial reports of ownership and reports of
changes of ownership of our common stock. Officers, directors and greater than ten percent stockholders are required by SEC
regulation to fumish us with copies of all Section 16(a) forms they file.

We intend to ensure to the best of our ability that all Section 16(a) filing requirements   applicable to our officers, directors and greater
than ten percent beneficial owners are complied with in a timely fashion.
Executive    Compensation

Currently, our officer and director receives no compensation, other than shares of common stock previously issued, for his services
during the development stage of our business operations. He is reimbursed for any out-of-pocket expenses that he incurs on our
behalf. In the future, we may approve payment of salaries for officers and directors, but currently, no such plans have been approved.
We also do not currently have any benefits, such as health or life insurance, available to our employees.




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(1) The percentages are based on a Before-Offering total of 10,000,000 shares of common stock issued and outstanding as of the date
of this prospectus and assume none of the 10,000,000 shares of our current security holder's shares will be sold and all of the
3,500,000 shares registered in the offering will be sold.

(2) As used in this table, "beneficial ownership" means the sole or shared power to vote, or to direct the voting of, a security, or the
sole or share investment power with respect to a security (i.e., the power to dispose of, or to direct the disposition of a security).
(3) Assumes the sale of the maximum amount of this offering (3,500,000 shares of common stock) by Swingplane Ventures, Inc. The
aggregate amount of shares to be issued and outstanding after the offering is 13,500,000.
Future Sales By Existing Stockholder

A total of 10,000,000 shares have been issued to the existing stockholder, all of which are held by our sole officer and director and are
restricted securities, as that term is defined in Rule 144 ofthe Rules and Regulations of the SEC promulgated under the Act. Under
Rule 144, such shares can be publicly sold, subject to volume restrictions and certain restrictions on the manner of sale, commencing
one year after their acquisition. Any sale of shares held by the existing stockholder (after applicable restrictions expire) and/or the sale
of shares purchased in this offering (which would be immediately resalable after the offering), may have a depressive effect on the
price of our common stock in any market that may develop, of which there can be no assurance.

Our principal   shareholder does not have any plans to sell his shares at any time after this offering is complete.
Certain   Relationships     and Related   Transactions

Matt Diehl is our sole officer and director.     We are currently operating out of the premises of  Mr. Diehl the officer and director of our
Company, on a rent-free basis for administrative         purposes. There is no written agreement or other material terms or arrangements
relating to said arrangement.

We do not currently have any conflicts of interest by or among our current officer, director, key employee or advisors. We have not
yet formulated a policy for handling conflicts of interest, however, we intend to do so upon completion of this offering and, in any
event, prior to hiring any additional employees. We do not presently have any independent directors. We consider independent
directors to be individuals who are not employed by the Conipany in an capacity and who do not liave any equity ownership interest
in the Company. Our Board of Directors is comprised of our President, Matt Diehl. We intend to seek independent directors for our
board of directors when the Company begins generating revenues and we are able to provide compensation for our board of director
members.

At the date of incorporation, a stock subscription       was received for 10,000,000 shares of our $0.001common stock, at par for $10,000,
which was received as of June 30, 2010.

Transactions     With   Related Persons, Promoters        and Certain Control Person

To the best of our knowledge there are no transactions involving any director, executive officer, or any security holder who is a
beneficial owner or any member of the immediate family ofthe officers and directors, or any related persons or promoters.



Item   12. Disclosure of    Commission    Position   on Indemnification    for Securities   Act Liabilities

Pursuant to the Articles of Incorporation      and By-Laws    ofthe corporation, we may indemnify       an officer or director who is made a
party to any proceeding, including a law suit, because of his position, if he acted in good faith and in a manner he reasonably believed
to be in our best interest. In certain cases,we may advance expensesincurred in defending any such proceeding. To the extent that
the officer or director is successful on the merits in any such proceeding as to which such person is to be indemnified, we must
indemnify him against all expenses incurred, including attorney's fees. With respect to a derivative action, indemnity may be made
only for expenses actually and reasonably incurred in defending the proceeding, and if the officer or director is judged liable, only by a
court order. The indemnification is intended to be to the fullest extent permitted by the laws of the State of Nevada.

Insofar as indemnification for liabilities arising under the Securities Act may be permitted to our directors, officers and controlling
persons pursuant to the provisions above, or otherwise, we have been advised that in the opinion of the Securities and Exchange
Commission, such indemnification is against public policy as expressed in the Securities Act, and is, therefore, unenforceable.

In the event that a claim for indemnification against such liabilities, other than the payment by us of expenses incurred or paid by one
of our directors, officers, or controlling persons in the successful defense of any action, suit or proceeding, is asserted by one of our




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                                                    (A Development Stage Company)
                                          For the Period from June 24, 2010 (Date of Inception)

                                                         Through June 30, 2010



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                                                                                                   Peter Messineo
                                                                                      Certified Public Accountant
                                                                            1982 Otter Way Palm Harbor FL 34685
                                                                                                    peter@cpa-ezxl.com
                                                                                   T 727.421.6268 F 727.674.0511

                            REPORT OF INDEPENDENT            REGISTERED        PUBLIC ACCOUNTING            FIRM


To the Board of Directors    and
Stockholders    of Swingplane Ventures, Inc.:


I have audited the balance sheets of Swingplane Ventures, Inc. as of June 30, 2010 and the related statement of operations, changes in
stockholder's equity, and cash flows for the year then ended and for the period June 24, 2010 (date of inception) through June 30,
2010. These financial statements were the responsibility of the Company's management. My responsibility was to express an opinion
on these financial statements based on my audits.

I conducted my audit in accordance with the standards of the Public Company Accounting Oversight Board (United States). Those
standards require that I plan and perform the audits to obtain reasonable assurance about whether the financial statements were free of
material misstatement. The Company was not required to have, nor was I engaged to perform, an audit of its internal control over
financial reporting. My audit included consideration of internal control over financial reporting as a basis for designing audit
procedures that were appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness of the
Company's internal control over financial reporting. Accordingly, I express no such opinion. An audit includes examining, on a test
basis, evidence supporting the amounts and disclosures in the financial statements, assessing the accounting principles used and
significant estimates made by management, as well as evaluating the overall financial statement presentation. I believe that my audit
provide a reasonable basis for my opinion.


In my opinion, the financial statements, referred to above, present fairly, in all material respects, the financial position of Swingplane
Ventures, Inc. as of June 30, 2010, and the results of its operations and its cash flows for the year then ended and for the period June
24, 2010 (date of inception) through June 30, 2010, in conformity with accounting principles generally accepted in the United States
of America.


The accompanying financial statements have been prepared assuming the Company will continue as a going concern. As discussed in
Note 2 to the financial statements, the Company has no revenues from operation, has not emerged from the development stage, and is
requiring traditional financing or equity funding to commence its operating plan. These conditions raise substantial doubt about the
Company's ability to continue as a going concern. Further information and management's plans in regard to this uncertainty were
also described in Note 2. The financial statements do not include any adjustments that might result from the outcome of this
uncertainty.


/s/ Peter Messineo, CPA
Peter Messineo, CPA
Palm Harbor, Florida
July 30, 2010




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                                                   Swingplane Ventures, Inc.
                                              (A Development Stage Corporation)

                                                           Balance Sheet


                                                                                                    June 30, 2010

Assets

Cash                                                                                            $              10,000
Total current assets                                                                                           10,000


Total assets                                                                                    $              10,000

Liabilities   and Stockholders' Equity

Stockholders'       deficit:
Common stock; $0.001 par value; 75,000,000 shares authorized;
10,000,000 shares issued and outstanding                                                        $              10,000
Capital in excess of par value
Accumulated      earnings during development        stage
Total stockholders'        equity                                                                              10,000
Total liabilities     and stockholders' equky                                                   $              10,000

The Accompanying           notes are an integral part   of the financial   statements



                                                                               F-3




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                                                             Swingplane Ventures, Inc.
                                                        (A Development Stage Corporation)

                                                              Statement     of Operations


                                                                                            For the Period from
                                                                                            June 24, 2010 (Date
                                                                                            of Inception) through
                                                                                                June 30, 2010

Revenue:
  Sales                                                                                     $                       -




Expenses:
  Selling, general and administrative



Net loss                                                                                    $                       -




Net loss per common share, basic and diluted                                                $                0.00


Weighted    average number of common shares,basic and diluted                                          10,000,000

The accompanying       notes are an integral part   of the financial   statements.



                                                                            F-4




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                                                               Swingplane Ventures, Inc.
                                                          (A Development Stage Corporation)

                                                           Statement of Stockholders'      Deficit


                                      For the Period from June 24, 2010 (Date of Inception) through June 30, 2010


                                                                                                     Capital in                                     Total
                                                                  Common Stock                       Excess of            Accumulated           Stockholders'
                                                                Shares      Amount                   Par Value               Deficit               Deficit


Balance, June 24, 2010
(Date of Inception)                                                              $          -   $                 -   $                 -   $                   -
Issuance of common
stock for cash (June        24,
2010)                             _                             10,000,000             10,000                     -                     -                10,000
Net loss for the period
June 24, 2010 (Date of
Inception) through June
30, 2010                                                                    -               -                     -                     -

Balance, June 30, 2010                                         10,000,000        $     10,000   $                 0   $                 0   $            10,000



The accompanying       notes are an integral part     of the financial   statements.



                                                                                F-5




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                                         Swingplane Ventures, Inc.
                                    (A Development Stage Corporation)

                                           Statement of Cash Flows




                                                                                        For the Period from
                                                                                       June 24, 2010 (Date of
                                                                                         Inception) through
                                                                                            June 30, 2010


Operating     activities
Net loss                                                                          $                        0
Adjustments     to reconcile net loss to net cash used
by operating activities:
Net cash used by operating activities                                                                      0


Investing   activities
 Net cash used by investing          activities                                                            0



Financing     activities

Proceeds from issuance of common stock                                                                10,000
Net cash provided        by financing activities                                  _                   10,000

Net increase (decrease) in cash and cash eq ivalents                                                  10,000

Cash and cash equivalents, beginning of period


Cash and cash equivalents, end of period                                          $                   10,000

Supplemental information:
Cash paid during the year for interest                                            $                        0
Cash paid during the year for taxes                                               $                        0




The accompanying           notes are an integral part   of the   financial   statements.



                                                                                 F-6




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                                                                       Swingplane   Ventures,   Inc.
                                                                  (A Development    Stage Corporation)

                                                                     Notes to Financial   Statements


                                    For the Period from June 24, 2010 (Date of Inception) through June 30, 2010

            1.         Background         Information.


Swingplane Ventures, Inc. (the "Company"), a Nevada corporation, is a development stage men's and women's golf fashion
manufacturer located in Broomfield, Colorado. The Company's initial clothing line consists of tailored-fit golf shirts, pants and skirts
that younger golfers are demanding from the standpoint of comfort, style and fabric. The Company plans to stay on the cutting edge
of the constantly changing golf apparel market and our goal is to create a quality reputation within the youthful golfing community
and golf garment marketplace.


The first designs will take into consideration of the fit, style and fabrics that younger golfers are demanding, including tailored-fit
shirts with shorter sleeves and fabrics that are wet and wind resistant, such as microfibers used today in tennis and active wear tops.
 Our initial design is a tailored-fit men's golf shirt with shorter sleeves and unique (and colorful) design patterns. This current design
will be marketed under the "Swingplane Ventures" brand. Because of its fit, fibers, and design, this garment will attract the 12 - 35
year old male golfer market as an alternative to much higher priced brands with similar styling.

            2.         Going Concern.

The accompanying financial statements have been prepared assuming that the Company will continue as a going concern. For the
period ended June 30, 2010, the Company has had no operations. As of June 30, 2010, the Company has not emerged from the
development stage. In view of these matters, the Company's ability to continue as a going concern is dependent upon the Company's
ability to begin operations and to achieve a level of profitability. The Company intends on financing its future development activities
and its working capital needs largely from the sale of public equity securities with some additional funding from other traditional
financing sources, including term notes until such time that funds provided by operations are sufficient to fund working capital
requirements. The financial statements of the Company do not include any adjustments relating to the recoverability and classification
of recorded assets,or the amounts and classifications of liabilities that might be necessary should the Company be unable to continue
as a going concern.


            3.        Significant       Accounting       Policies.

The significant    accounting policies        followed     are:


FASB Codification     - In June2009, the FASB issued ASC 105, Generally Accepted Accounting        Principles, effective for interim and
annual reporting periods ending after September 15, 2009. This statement establishes the Codification as the source of authoritative
accounting principles used in the preparation of financial statements in conformity with generally accepted accounting principles. The
Codification  does not replace or affect guidance issued by the SEC or its staff. As a result of the Codification, the references to
authoritative accounting pronouncements included herein in our Form S-l/A now refer to the Codification topic section rather than a
specific accounting rule as was past practice.


Use of estimates  - The preparation of financial statements in conformity   with accounting principles generally accepted in the United
States of America requires management to make estimates and assumptions that affect the reported amounts of assets and liabilities
and disclosure of contingent assets and liabilities at the date of the financial statements and the reported amounts of revenues and
expenses during the reporting period. Actual results could differ from those estimates.


Cash and cash equivalents           -   All cash, other than held in escrow, is maintained with a major financial institution     in the United States.
Deposits with this bank may exceed the amount of insurance provided on such deposits. Temporary cash investments                       with an original
maturity of three months or less are considered to be cash equivalents.


Research     and development expenses                -   Expenditures      for research, development,    and engineering of products   are expensed as
incurred.




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Common stock - The Company records common stock issuances when all of the legal requirements                            for the issuance of such common
stock have been satisfied.


Revenue and cost recognition               -  The Company has no current source of revenue; therefore the Company               has not yet adopted any
policy regarding the recognition           of revenue or cost.


Advertising     Costs - The Company's            policy regarding   advertising   is to expense advertising   when incurred.



Income      Taxes   -   Income taxes are provided for the tax effects of transactions reported in the financial
                                                                                                         statements and consist of
taxes currently    due plus deferred taxes resulting from temporary differences. Such temporary differences result from
differences in the carrying value of assets and liabilities for tax and financial reporting purposes. The deferred tax assets and
liabilities represent the future tax consequences of those differences, which will either be taxable or deductible when the assets
and liabilities are recovered or settled. Valuation allowances are established when necessary to reduce deferred tax assets to the
amount expected to be realized.


The Company adopted the provisions of FASB ASC 740-10 "Uncertainty in Income Taxes" (ASC 740-10), on January 1, 2007. The
Company has not recognized a liability as a result of the implementation of ASC 740-10. A reconciliation of the beginning and ending
amount of unrecognized tax benefits has not been provided since there is no unrecognized benefit since the date of adoption. The
Company has not recognized interest expense or penalties as a result of the implementation        of ASC 740-10. If there were an
unrecognized tax benefit, the Company would recognize interest accrued related to unrecognized tax benefits in interest expense and
penalties in operating expenses.


Earnings   (Loss) Per Share - Basic loss per share is computed by dividing net loss attributable to common stockholders by the
weighted average common shares outstanding for the period. Diluted loss per share is computed giving effect to all potentially dilutive
common shares. Potentially dilutive common shares may consist of incremental shares issuable upon the exercise of stock options and
warrants and the conversion of notes payable to common stock. In periods in which a net loss has been incurred, all potentially
dilutive common shares are considered anti*dilutive and thus are excluded from the calculation. At June 30, 2010, the Company did
not have any potentially dilutive common shares.


Financial    instruments     In September 2006, the Financial Accounting
                                   -                                            Standards Board (FASB) introduced a framework for
measuring fair value and expanded required disclosure about fair value measurements of assets and liabilities. The Company adopted
the standard for those financial assets and liabilities as of the beginning of the 2008 fiscal year and the impact of adoption was not
significant. FASB Accounting Standards Codification (ASC) 820 "Fair Value Measurements and Disclosures" (ASC 820) defines fair
value as the exchange price that would be received for an asset or paid to transfer a liability (an exit price) in the principal or most
advantageous market for the asset or liability in an orderly transaction between market participants on the measurement date.. ASC
820 also establishes a fair value hierarchy that distinguishes between (1) market participant assumptions developed based on market
data obtained from independent sources (observable inputs) and (2) an entity's own assumptions about market participant assumptions
developed based on the best information available in the circumstances (unobservable inputs). The fair value hierarchy consists of
three broad levels, which gives the highest priority to unadjusted quoted prices in active markets for identical assets or liabilities
(Level 1) and the lowest priority to unobservable inputs (Level 3). The three levels of the fair value hierarchy are described below:

     •      Level 1 - Unadjusted          quoted prices in active markets that are accessible at the measurement          date for identical, unrestricted
            assets or liabilities.


     •      Level 2 - Inputs other than quoted prices included within Level 1 that are observable for the asset or liability, either directly
            or indirectly, including quoted prices for similar assets or liabilities in active markets; quoted prices for identical or similar
            assets or liabilities in markets that are not active; inputs other than quoted prices that are observable for the asset or liability
            (e.g.,interest rates); and inputs that are derived principally from or corroborated by observable market data by correlation or
            other means.


     •      Level 3     -   Inputs that are both significant   to the fair value measurement and unobservable.


Fair value estimates discussed herein are based upon certain market assumptions and pertinent information available to management
as of June 30, 2010. The respective carrying value of certain on-balance-sheet financial instruments approximated their fair values due



http://www.see.gov/Archives/edgar/data/1497046/000138038911000039/swingplanesla7.htm                                                                    12/4/2014
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to the short-term nature of these instruments. These financial instruments include accounts receivable, other current assets, accounts
payable, accrued compensation and accrued expenses. The fair value of the Company's notes payable is estimated based on current
rates that would be available for debt of similar terms which is not significantly different from its stated value.



On June 24, 2010, the Company applied ASC 820 for all non-financial                  assets and liabilities measured at fair value on a non-recurring
basis. The adoption of ASC 820 for non-financial assets and liabilities              did not have a significant impact on the Company's financial
statements.


Subsequent     events       -   Subsequent events have been evaluated through the date of the audit report, which were available to be issued.



Recent accounting       pronouncements


At inception the Company adopted ASC 470, Debt with Conversion and Other Options               Cash Conversion ("ASC 470") (formerly
                                                                                                         -



referenced as FASB Staff Position APB No. 14-1, Accounting for Convertible Debt Instruments That May Be Settled in Cash upon
Conversion (Including Partial Cash Settlement)), which requires issuers of convertible debt that may be settled wholly or partly in
cash when converted to account for the debt and equity components separately. Where applicable, ASC 470 must be applied
retrospectively to all periods presented. The adoption of ASC 470 did not have an impact on the Company's financial statements.
In August 2009, the Financial Accounting Standards Board or FASB issued Accounting Standards Update 2009-05, Fair Value
Measurements and Disclosures ("Topic 820") - Measuring Liabilities          at Fair Value an Update 2009-05. Update 2009-05 amends
subtopic 820-10, "Fair Value Measurements and Disclosures- Overall" and provides clarification for the fair value measurement of
liabilities in circumstances where quoted prices for an identical liability in an active market are not available. The amendments also
provide clarification for not requiring the reporting entity to include separate inputs or adjustments to other inputs relating to the
existence of a restriction that prevents the transfer of a liability when estimating the fair value of a liability. Additionally, these
amendments clarify that both the quoted price in an active market for an identical liability at the measurement date and the quoted
price for an identical liability when traded as an asset in an active market when no adjustments to the quoted price of the asset are
required are considered Level 1 fair value measurements. These requirements are effective for financial statements issued after the
release of Update 2009-05. The Company adopted the requirements                  on June 24, 2010 and it did not have a material impact on our
financial position, results of operations or related disclosures.
Other recent accounting pronouncements issued by the FASB (including its EITF), the AICPA, and the SEC did not or are not
believed by management to have a material impact on the Company's present or future financial statements.

          4.         Income         Taxes.


There is no current or deferred income tax expense or benefit for the period ended June               30, 2010.

The provision for income taxes is different from that which would be obtained by applying the statutory federal income tax rate to
income before income taxes. The items causing this difference are as follows:


                                                                                                   June 24, 2010
                                                                                             (Date of Inception) through
                                                                                                   June 30, 2010
                                  Tax benefit at U.S.statutory rate                      $
                                  State income tax benefit, net of federal benefit                                         -

                                                                                         $                                 -




The Company did not have any temporary differences for the period from June 24, 2010 (Date of Inception) through June 30, 2010.

5. Related   Party   Transactions



On June 24, 2010, the Company sold 10,000,000 shares of its $0.001 common stock to an officer of the Company for a $10,000.
The officers and directors of the Company are involved in other business activities and may, in the future, become involved in other




http://www.sec.gov/Archives/edgar/data/1497046/000138038911000039/swingplanesla7.htm                                                               12/4/2014
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                                                          Swingplane Ventures, Inc.
                                                      (A Development Stage Corporation)

                                                             Financial    Statements

                                                      As of March 31, 2011 (unaudited)
                                              and the Period June 24, 2010 (Date of Inception)
                                                    through March 31, 2011 (unaudited)

Contents

Financial Statements:




       Balance Sheets                                                                                                             2
       Statements of Operations                                                                                                   3
       Statements of Changes in Stockholders' Deficit                                                                             4
       Statements of Cash Flows                                                                                                  ll
       Notes to Financial Statements                                                                                             13
                                                          Swingplane     Ventures, Inc.
                                                     (A Development      Stage Corporation)

                                                               Balance Sheets


                                                                                                                                      |

                                                                                              March 31, 2011     June 30, 2010
                                                                                               (unaudited)         (audited)
Assets

Current Assets

Cash                                                                                             $       323           10,000



     Total Current Assets                                                                                323           10,000



     Total Assets                                                                             $          323     $      10,000


Liabilities and Stockholders' Equity     (Deficit)
Current Liabilities

Accounts    payable                                                                              $     1,575     $          -



     Total Current Liabilities                                                                         1,575                -




Stockholders'    (Deficit)   Equity:
Common      stock $0.001 par value; 75,000,000 shares authorized;
  10,000,000 shares issued and outstanding                                                            10,000           10,000
Capital in excess of par value
Accumulated deficit during development stage                                                         (11,252 )              -




http://www.see.gov/Archives/edgar/data/1497046/000138038911000039/swingplanesla7.htm                                             12/4/2014
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    Total Stockholders' (Deficit) Equity                                                                        (1,252 )                10,000

    Total Liabilities     & Stockholders' Equity                                                            $      323          $       10,000




The accompanying        notes are an integral part   of the financial statements.
                                                              Swingplane Ventures,         Inc.
                                                       (A Development     Stage Corporation)
                                                              Statements of Operations
                                                                     (unaudited)

                                                                                                                                                            I

                                                                                                                                      For the Period
                                                                                                                                       from June 24,
                                                                                       For the Three    For the Nine Months            2010 (Date of
                                                                                      Months Ended          Ended March 31,         Inception) through
                                                                                      March 31, 2011             2011                 March 31, 2011


Revenue

Sales                                                                         $                    -    $                   -       $                 -




Expenses:

Selling, general and administrative                                                               225                    11,252                   11,252
                                                                                                  225                    11,252                   11,252


Net loss                                                                          s               225 $              (11,252)                    (11,252)


Net loss per common share, basic and diluted                                      $               0.00 $                   0.00     $               0.00


Weighted    average number of common shares, basic and diluted                             10,000,000             10,000,000                 10,000,000

The accompanying        notes are an integral part   of the financial   statements.




                                                                           F-11




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                                                         Swingplane Ventures, Inc.
                                                    (A Development Stage Corporation)

                                                    Statement of Stockholders'     Deficit


                            For the Period from June     24, 2010 (Date of   Inception)    through March 31, 2011


                                                                          Capital in
                                     Common Stock                         Excess of                Accumulated               Total Stockholders'
                                    Shares      Amount                    Par Value                   Deficit                      Deficit


Balance, June 24,
2010 (Date of
Inception)                                      -    $        -       $                -       $                 -       $                     -


Issuance of common
stock for cash (June 24,

 2010)                              10,000,000            10,000                       -                         -                         10,000
Net loss for the period
June 24, 2010 (Date of
Inception) through June
30, 2010                                    -                 -                        -                         -

Balance, June 30,
2010                               10,000,000        $    10,000      $                    0   $                     0   $                 10,000
Net loss for the nine
months ended March

31, 2011 (unaudited)                        -                 -                                             (11,252 )                     (11,252 )
Balance, March 31,
2011 (unaudited)                   10,000,000        $    10,000      $                    0   $            (11,252 )    $                 (1,252 )



The accompanying       notes are an integral part ofthe financial    statements.




                                                                          F-12




http://www.sec.gov/Archives/edgar/data/1497046/000138038911000039/swingplanesla7.htm                                                               12/4/2014
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                                                                       Swingplane Ventures, Inc.
                                                                 (A Development Stage Corporation)

                                                                       Statement of Cash Flows


                                                                                                                         For the Period from
                                                                                          For the Nine Months          June 24, 2010 (Date of
                                                                                           Ended March 31,               Inception) through
                                                                                                  2011                     March 31, 2011
                                                                                               (unaudited)                   (unaudited)


      Operating      activities
      Net loss                                                                        $               (11,252 )    $                 (11,252)
      Adjustments      to reconcile net loss to net cash used
      by operating activities:
      Increase in accounts payable                                                                     1,575                           1,575
      Net cash used by operating activities                                                            (9,677 )                       (9,677)

      Investing activities
        Net cash used by investing activities                                                               0                               0




      Financing      activities

       Proceeds from issuance of common stock                                                               0      _                   10,000
      Net cash provided by financing activities                                                             O                          10,000

       Net (decrease) increase in cash and cash equivalents                                             (9,677 )                         398

       Cash and cash equivalents, beginning              of period                                     10,000                               0


       Cash and cash equivalents, end of period                                       $                   323      $                     323


       Supplemental         information:

       Cash paid during the year for interest                                         $                     0      $                        0
       Cash paid during the year for taxes                                            $                     0      $                        0




The accompanying            notes are an integral part   of the financial   statements.




                                                                               F-13




http://www.sec.gov/Archives/edgar/data/1497046/000138038911000039/swingplanesl                                         a7.htm                   12/4/2014

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(b) Requestfor Acceleration ofEffective Date. Insofar as indemnification for liabilities arising under the Securities Act may be
permitted to directors, officers and controlling persons of the registrant according the foregoing provisions, or otherwise, the
undersigned registrant has been advised that in the opinion of the SEC such indemnification is against public policy as expressed in
the Securities Act and is, therefore, unenforceable.

      In the event that a claim for indemnification    against such liabilities (other than the payment by the registrant of expenses incurred
or paid by a director, officer or controlling person of the registrant in the successful defense of any action, suit or proceeding) is
asserted by such director, officer or controlling person in connection with the securities being registered, the registrant will, unless in
the opinion of its counsel that the matter has been settled by controlling precedent, submit to a court of appropriate jurisdiction the
question whether such indemnification       by it is against public policy as expressed in the Securities Act and will be governed by the
final adjudication of such issue.

(4) That, for the purpose of determining       liability under the Securities Act to any purchaser:

     (i) Each prospectus filed pursuant to Rule 424(b) as part of a registration statement relating to an offering, other than registration
statements relying on Rule 430B or other than prospectuses filed in reliance on Rule 430A, shall be deemed to be part of and included
in the registration statement as of the date it is first used after effectiveness. Provided, however, that no statement made in a
registration statement or prospectus that is part of the registration statement or made in a document incorporated or deemed
incorporated by reference into the registration statement or prospectus that is part of the registration statement will, as to a purchaser
with a time of contract of sale prior to such first use, supersede or modify any statement that was made in the registration statement or
prospectus that was part of the registration statement or made in any such document immediately prior to such date of first use.


                                                                 SIGNATURES

Pursuant to the requirements of the Securities Act of 1933, the registrant has duly caused this registration statement to be signed on its
behalf by the undersigned, thereunto duly authorized in the City of Broomfield, State of Colorado on June 7, 2011.
                                                                                                  (Registrant)

                                                                                                  SWINGPLANE            VENTURES,    INC.
                                                                                                  ,1)v: /s/ Matthew   R. Diehl
                                                                                                  Matthew R. Diehl, President




Pursuant to the requirements of the Securities Act of 1933, this registration      statement has been signed by the following     persons in the
capacities and on the dates indicated.



Name                        T tle                                                                                DR
/s/Matthew    R. Diehl      Principal Executive Officer, Principal Accounting     Officer, Chief Financial       June   7, 2011
Matthew      R.Diehl        Officer,   Secretary, Chairman of the Board of Directors




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                                               SECURITIES      AND EXCHANGE COMMISSION
                                                                       D.C.20549
                                                              Washington


                                                              FORM              10-Q
        0      QUARTERLY REPORT               PURSUANT        TO SECTION        13 OR 15(d) OF THE         SECURITIES        EXCHANGE
               ACT OF 1934

                                               For the Quarterly period ended September         30, 2011

        0      TRANSITION       REPORT        PURSUANT      TO SECTION          13 OR 15(d) OF THE SECURITIES               EXCHANGE
               ACT OF 1934

                                      For the transition period from                      to

                                                      Commission      file number: 333-168912


                                      SWINGPLANE                          VENTURES,                    INC.
                                        (Exact name of small business issuer as specified in its charter)

                                        Nevada                                                     27-29196I6
                             (State or otherjurisdiction of                          (I.R.S. Employer      Identification   No.)
                            Incorporation or organization)

                                              220 Summit Blvd. #402, Broomfield,    Colorado        80021
                                                     (Address of principal executive offices)

                                                                     303-803-0063
                                                            (Issuer's telephone number)


                             (Former name, former address and former fiscal year, if changed since last report)

        Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the
        Exchange Act during the preceding 12 months (or for such shorter period that the registrant was required to file such
        reports), and (2) has been subject to such filing requirements for at least the past 90 days. Yes 3 No O

        Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any,
        every Interactive Data File required to be submitted and posted pursuant to Rule 405 of Regulation S-T (§232.405 of this
        chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit and post such
        files). Yes O No O

        Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer or a
        smaller reporting company. See the definitions of "accelerated filer, large accelerated filer and smaller reporting company"
        in Rule 12b-2 of the Exchange Act. (Check one):

                    Large accelerated filer                      0          Accelerated filer                               O
                    Non-accelerated   filer                      0          Smaller reporting   company                     0

        Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes             O
        No O


        There were 45,000,000 shares of the Registrant's $0.001 par value common stock outstanding               as of September 30,   2011.




http://www.sec.gov/Archives/edgar/data/1497046/000147793211002317/swingplane                                    10q.htm                        I1/6/2014
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        Earnings (Loss) Per Share - Basic loss per share is computed by dividing net loss attributable to common stockholders by
        the weighted average common shares outstanding for the period. Diluted loss per share is computed giving effect to all
        potentially dilutive common shares. Potentially dilutive common shares may consist of incremental shares issuable upon the
        exercise of stock options and warrants and the conversion of notes payable to common stock. In periods in which a net loss
        has been incurred, all potentially dilutive common shares are considered anti*dilutive     and thus are excluded from the
        calculation. At September 30, 2011, the Company did not have any potentially dilutive common shares.

        Financial instruments     - In September 2006, the Financial Accounting Standards Board (FASB) introduced           a framework
        for measuring fair value and expanded required disclosure about fair value measurements of assets and liabilities. The
        Company adopted the standard for those financial assets and liabilities as of the beginning of the 2008 fiscal year and the
        impact of adoption was not significant. FASB Accounting Standards Codification          (ASC) 820 "Fair Value Measurements
        and Disclosures" (ASC 820) defines fair value as the exchange price that would be received for an asset or paid to transfer a
        liability (an exit price) in the principal or most advantageous market for the asset or liability      in an orderly transaction
        between market participants on the measurement date. ASC 820 also establishes a fair value hierarchy that distinguishes
        between (1) market participant assumptions developed based on market data obtained from independent sources (observable
        inputs) and (2) an entity's own assumptions about market participant assumptions developed based on the best information
        available in the circumstances (unobservable inputs). The fair value hierarchy consists of three broad levels, which gives the
        highest priority to unadjusted quoted prices in active markets for identical assets or liabilities (Level 1) and the lowest
        priority to unobservable inputs (Level 3). The three levels of the fair value hierarchy are described below:

        Level 1 -     Unadjusted quoted prices in active markets that are accessible at the measurement          date for identical, unrestricted
                      assets or liabilities.

        Level 2   -   Inputs other than quoted prices included within Level 1 that are observable              for the asset or liability, either
                      directly or indirectly, including quoted prices for similar assets or liabilities in    active markets; quoted prices for
                      identical or similar assets or liabilities in markets that are not active; inputs       other than quoted prices that are
                      observable for the asset or liability       (e.g., interest rates); and inputs that     are derived principally    from or
                      corroborated by observable market data by correlation or other means.
        Level 3 -     Inputs that are both significant to the fair value measurement and unobservable.

        Fair value estimates discussed herein are based upon certain market assumptions and pertinent information available to
        management as of September 30, 2011. The respective carrying value of certain on-balance-sheet financial instruments
        approximated     their fair values due to the short-term nature of these instruments. These financial instruments include
        accounts receivable, other current assets, accounts payable, accrued compensation and accrued expenses. The fair value of
        the Company's notes payable is estimated based on current rates that would be available for debt of similar terms which is
        not significantly different from its stated value.

        On June 24, 2010, the Company applied ASC 820 for all non-financial          assets and liabilities    measured at fair value on a non-
        recurring basis. The adoption of ASC 820 for non-financial         assets and liabilities did not have a significant      impact on the
        Company's financial statements.

        Recent accounting      pronouncements

        Except for rules and interpretive releases of the SEC under authority of federal securities laws and a limited number of
        grandfathered standards, the FASB Accounting Standards CodificationTM ("ASC") is the sole source of authoritative GAAP
        literature recognized by the FASB and applicable to the Company. Management has reviewed the aforementioned rules and
        releases and believes any effect will not have a material impact on the Company's present or future financial statements.


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http://www.sec.gov/Archives/edgar/datall497046/000147793211002317/swingplane                                    10q.htm                       i 1/6/2014
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        4. Income Taxes.

        There is no current or deferred income tax expense or benefit for the three months ended September 30, 2011.

        The provision for income taxes is different from that which would be obtained by applying     the statutory federal income tax
        rate to income before income taxes. The items causing this difference are as follows:


                                                                                                                               June 24,
                                                                                                                                 2010
                                                                                                            Three              (Date of
                                                                                                           Months          Inception)
                                                                                                            Ended            through
                                                                                                          September        September
                                                                                                           30, 2011          30, 2011
        Tax benefit at U.S.statutory rate                                                                $      4,800      $       9,000
        State income tax benefit, net of federal benefit                                                           -                  -



        Valuation    allowance                                                                                 (4,800)            (9,000)
                                                                                                         $             -   $          -




        The Company did not have any temporary differences for the three month period ended September 30, 2011.

        5. Stock    Subscription   and Related Party   Transactions

        On June 24, 2010, the Company sold 10,000,000 shares of its $0.001 common stock to an officer          of the Company for a
        $10,000 stock subscription receivable.

        On September 6, 2011, the Company raised $35,000 through the issuance of 35,000,000 shares of common stock to
        unrelated parties.


        The officers and directors of the Company are involved in other business activities and may, in the future, become involved
        in other business opportunities that become available. They may face a conflict in selecting between the Company and other
        business interests. The Company has not formulated a policy for the resolution of such conflicts.


        The Company does not own or lease property or leaseoffice space. The office space used by the Company was arranged by
        the founder of the Company to use at no charge.

        The above amount is not necessarily indicative      of the amount that would have been incurred had a comparable transaction
        been entered into with independent parties.


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       Item   2.Management's      Discussion   and Analysis   or Plan of Operation.

       Forward Looking Information

       Information contained in the following discussion of results of operations and financial condition and in certain of the notes
       to the financial statements included in this document contain forward-looking      statements within the meaning of the Private
       Securities Litigation Reform Act of 1995, which can be identified by the use of words such as "may,""will,"           "expect,"
       "anticipate," "estimate," or "continue," or variations thereon or comparable terminology. In addition, all statements other
       than statements of historical facts that address activities, events, or developments the Company expects, believes, or
       anticipates will or may occur in the future, and other such matters, are forward-looking   statements. The following discussion
       should be read in conjunction with the Company's unaudited financial statements and related notes included elsewhere
       herein.

       The Company's future operating results may be affected by various trends and factors, which are beyond the Company's
       control. The important factors that could prevent us from achieving our stated goals and objectives include, but are not
       limited to, those set forth in our Form S-1/A filed with the Commission on June 8, 2011. We undertake no responsibility or
       obligation to update publicly these forward-looking       statements, but may do so in the future in written or oral statements.
       Investors should take note of any future statements made by or on our behalf. The Company cautions the reader that a
       number of important factors discussed herein, and in other reports filed with the Commission could affect the Company's
       actual results and cause actual results to differ materially from those discussed in forward-looking statements.

       Overview


       Swingplane   Ventures Inc. is a development stage men's and women's golf fashion manufacturer located in Broomfield,
       Colorado. The Company intends for its initial clothing line to consist of tailored-fit golf shirts, pants, and skirts. The use of
       lightweight and breathable fibers that the Company intends to use could position the Company among larger companies in a
       competitive market. We plan to stay on the cutting edge of the constantly changing golf apparel market and create a
       reputation with the consumer of providing unique and desirable designs at affordable prices. This market dictates that new
       styles and designs be introduced on a regular basis.

       Our initial design is planned to be a tailored-fit men's golf shirt with shorter sleeves and unique design patterns. Mr. Diehl
       currently has some designs in mind and has the ability to finalize the initial shirt design, fit, and fabric. Currently the
       Company has no agreements or contracts in place with any designers or manufacturers, but upon successful completion of
       our proposed offering it is expected to seek out manufacturers and prototypes. We intend to market this current design under
       the "Swingplane" brand. Because of its fit, fibers, and design, our target market for this garment is the 15 - 35 year old male
       golfer as an alternative to other brands.

       The Company currently has not developed or sold any products but is in the development stage for its products. Without
       sufficient additional financing, the Company will not be able to complete the development or introduce its apparel to the
       market and may have to discontinue operations.

       Liquidity    and Capital   Resources


       We have not generated positive cash flows from operating activities. The primary source of capital has been from the sale of
       equity securities. Our primary use of capital has been for professional fees, and general and administrative     costs. Our
       working capital requirements are expected to increase in line with the growth of our business.

       We have no lines of credit or other bank financing arrangements. We expect that working capital requirements will be
       funded through a combination of our existing funds, cash flow from operations and issuanceof equity and debt securities.


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                                                             SIGNATURES

       In accordance with the requirements of the Securities Exchange Act of 1934, as amended, the registrant caused this report to
       be signed on its behalf by the undersigned, thereunto duly authorized.

                                                                     Swingplane   Ventures,   Inc.

       Date: November   3, 2011                                      By:/s/Matthew   Diehl
                                                                         Matthew Diehl,
                                                                         Chief Executive Officer and Principal
                                                                         Accounting Officer


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                                        issue: Swingplane         Ventures, Inc - Com               Ticker                           CUSIP ID:
                                        Stock                                                                                       870787108 ,
                                                                                                        Holder Total
                                                                                                           % Held /
                                                                                         Date    Date
                                                                    Name &                                  Shares Unit StoR
                                                                                        issued Cancelled
                                        TaX Id            Certificate Address                                  Held Price Code

                                        000000000-8145              HECTOR                                           3,500,000.00
                                                                    CASILLAS                                              0.741%
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                                                                    VILLAS DEL
                                                                    ALAMO, MEXICO
                                                                    42184


                                                    *     40                           07/14/2011      05/11/2012         100,000 N/A
                                                          BOOK5                        05/11/2012                       3,500,000   N/A
                                                                                                    Total Sharts:       3,500,000


                                        000000000- 142              MARIA ISABEL                                     3,500,000.00
                                                                    GONZALEZ                                              0.741%
                                                                    ANGELES
                                                                    C TUXPAN 108-12
                                                                    CUAUHTEMOC,
                                                                    D.F.
                                                                    COL ROMA SUR,
                                                                    MEXICO 06760


                                                          38                           07/15/2011      05/11/2012         100,000 N/A
                                                          BOOK3                        05/11/2012                       3,500,000   N/A
                                                                                                    Total Shares:       3,500,000

                                        000000000-: 140             DULŒ JULIA                                       3,500,000.00
                                                                    SANGUINO                                              0.741%
                                                                    BECERRIL
                                                                    C SAN RAFAEL
                                                                    ATLIXCO 3472

                                                                                                                    SWVi TA# 104, p. 13              ·




                                                                                                                      SWVI Scans 318
$   1 of 8                                                                                                                                    8/31/2012 12:42 PM



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         ,     .                                   A6-203
                                                   TLAHUAC
                                                   COL ZAPOTITLA,
                                                   MEXICO 13300


                                          36                        07/13/2011      05/11/2012        100,000 N/A
                                          BOOK1                     05/11/2012                      3,500,000    N/A
                                                                                 Total Shares:      3,500,000


                       000000000     47            FRANCISCO                                      3,500,000.00
                                                   GERARDO                                             0.741%
                                                   ALVAREZ
                                                   MATURANO
                                                   C AMADO NERVO
                                                   14-402
                                                   BENITO JUAREZ,
                                                   D.F.
                                                   COL MODERNA,
                                                   MEXICO 03510


                                          42                        07/13/2011       05/11/2012       100,000 N/A
                                          BOOK7                     05/11/2012                      3,500,000    N/A
                                                                                 Total Shases:      3,500,000


                       000000000-8   62            SMIUA BLACE                                    3.150,000,00
                                                   TRG SRPSKIH                                        0.667%
                                                   DOBROVOUACA
                                                   4
                                                   23300
                                                   VOJVODINA
                                                   KIKINDA,
                                                   SURINAME 00000


                                          57                        08/24/2011       05/11/2012         90,000   N/A
                                          BOOK22                    05/11/2012                       3,150,000 N/A
                                                                                 Total Shares:       3,150,000


                       000000000-8   58            MARINA                                         3,150,000.00
&                                                  BOGDANOVIC
                                                   VELIZARA
                                                                                                       0.667%
                                                   KOSANOVICA
                                                   51/10
                                                   11000
                                                   BELGRADE
                                                   BELGRADE,
                                                   SURINAME 00000


                                          53                        08/26/2011       05/11/2012         90,000   N/A
                                          BOOK18                    05/11/2012                       3,}50,000   N/A
                                                                                 Total Shares:       3,150,000

                       000000000-8157              DJORDJE                                        3,150,000.00

                                     I             VELIZARA
                                                   BOGDANOVIC
                                                   KOSANOVICA
                                                                                                       0.667%
                                                   51/10
                                                   11000
                                                   BELGRADE
                                                   BELGRADE,
                                                   SURINAME 00000


                                          52                        08/26/2011       05/11/2012         90,000   N/A
                                          BOOKl7                    05/11/2012                       3,150,000   N/A
                                                                                 Total Shares:       3,150,000


                                                                                                  SWVI TA#104, p.14
                                                                                                    SWVI Scans 319
% 2of8                                                                                                                 8/31/2012 12:42 PM



                                                                                                                                        A0052
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                                                                   http://192.168.14.226/cuprod/Menul6/SHLListing.csp?Sil=870787108...




         .   •
                           000000000-8148             ELIGIO
                                                      GERARDO
                                                      CASTANEDA
                                                                                                      3,500,000.00
                                                                                                           0.741%

                                                      ESTRADA
                                                      AND TULIPANES
                                                      1004
                                                      MAZATLAN, SIN
                                                      FRACC
                                                      JACARANDAS,
                                                      MEXICO 82157


                                             43                        07/13/2011      05/11/2012         100,000 N/A
                                             BOOKS                     05/11/2012                       3,500,000    N/A
                                                                                    Total Sham:         3,500,000

                           000000000 8 69             SRDJAN  CULIC                                   3,850,000.00
                                                      BELE NJlVE 31                                        0.815%
                                                      21000
                                                      VOJVODINA
                                                      NOVI SAD,
                                                      SURINAME 00000


                                             64                        08/15/2011      05/11/2012         110,000    N/A
                                             BOOK29                    05/11/2012                       3,850,000    N/A
                                                                                    Total Sham:         3,850,000


                           000000000    73            MILORAD                                         4,200,000.00
                                                      CVETICANIN                                           0.889%
                                                      FRUSKOGORSKA
                                                      29
                                                      21000
                                                      VOJVODINA
                                                      NOV1 SAD,
                                                      SURINAME 00000


                                             68                        08/24/2011      05/11/2012         120,000 N/A
                                             BOOK33                    05/11/2012                       4,200,000    N/A
                                                                                    Total Sham:          4,200,000

                           000000000-8 64             GORDANA                                         3,850,000.00
                                                      CVETICANIN                                           0.815%
                                                      FRUSKOGORSKA
                                                      29
                                                      21000
                                                      VOJVODINA
                                                      NOVI SAD,
                                                      SURINAME 00000


                                             59                        08/24/2011      05/11/2012          110,000 N/A
                                             BOOK24                    05/11/2012                       3,850,000    N/A
                                                                                    Total Sham:         3,850,000


                           522212323-                 MATTHEW                                       350,000,000.00
                                                      DIEHL                                               74.074%
                                                      220 SUMMIT
                                                      BLVD
                                                      SUITE #402
                                                      BROOMFIELD,
                                                      CO 8002)


                                             35                        06/24/2011      05/11/2012       10,000,000 N/A

                                             BOOK36                    05/11/2012                     350,000,000    N/A   Restricted

                                                                                Total Sham:           350.000,000


                                                                                                     SWVi TA#104, p.15
                                                                                                        SWVI Scans 320
3 of 8                                                                                                                       8/31/2012 12:42 PM



                                                                                                                                              A0053
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             .   *
                               000000008168               SRDJAN
                                                          FRANCUSKl
                                                          STEVANA
                                                                                                         3,850,000.00
                                                                                                             0.815%

                                                          MUSICA 14/20
                                                          21000
                                                          VOJVODINA
                                                          NOV1 SAD,
                                                          SURINAME 00000


                                                 63                         08/17/2011      05/11/2012       110,000 N/A
                                                 BOOK28                     05/11/2012                     3,850,000 N/A
                                                                                         Total Shares:     3,850,000

                                          8174            VLATKA                                         3,150,000.00
                                                          GNJATOVIC                                          0.667%
                                                          PRIMORSKA25
                                                          11000
                                                          BELGRADE
                                                          BELGRADE,
                                                          SURINAME 00000


                                                 69                         08/26/2011      05/11/2012        90,000 N/A
                                                 BOOK34                     05/11/2012                     3,150,000    N/A
                                                                                         Total Shases:     3,150,000


                               00         8153            NEMANJA                                        2,800,000.00
                                                          GOVEDAROVIC                                        0.593%
                                                          DR.DORDA
                                                          JOANOVICA 3
                                                          21000
                                                          VOJVODINA
                                                          NOV1 SAD,
                                                          SURINAME 00000


                                                 48                         08/17/2011      05/11/2012        80,000 N/A
                                                 BOOK13                     05/11/2012                     2,800,000 N/A
                                                                                         Total Shares:     2,800,000


                               000000000-8165             OLJA HOMA                                      3,850,000.00
                                                          BUL                                                0.815%
                                                          SLOBODANA
                                                          JOVANOVICA 06
                                                          21000
                                                          VOJVODINA
                                                          NOVI SAD,
                                                          SURINAME  00000


                                                 60                         08/15/2011      05/11/2012       110,000 N/A
                                                 BOOK25                     05/11/2012                     3,850,000    N/A
                                                                                         Total Shases:     3,850,000


                               000000000-8170             MILENA                                         3,850,000.00
                                                          KOJADINOVIC                                         0.815%
                                                          PASTEROVA 8
                                                          21000
                                                          VOJVODINA
                                                          NOV1 SAD,
                                                          SURINAME 00000


                                                 65                         09/01/2011      05/11/2012       110,000 N/A
                                                 BOOK30                     05/11/2012                     3,850,000    N/A
                                                                                         Total Shares:     3.850,000




                                                                                                         SWVI TA# 104, p. 16
                                                                                                           SWVI Scans 321
$   4 of 8                                                                                                                    8/31/2012 12:42 PM



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                                                              http://192.168.14.226/cuprod/Menul6/SHLListing.csp?SIle870787108...



                      000000000-8176            IVANA KORAC                                      4,200,000.00
                                                MISE                                                  0.889%
                                                DIMITRIJEVlCA 2
                                                2!000
                                                VOJVODINA
                                                NOV1 SAD,
                                                SURINAME 00000


                                       70                           08/26/2011      05/11/2012       120,000 N/A
                                       BOOK35                       05/11/2012                     4,200,000 N/A
                                                                                 Total Shares:     4,200,000


                      000000000 8171            BRANKA KORICA                                    4,200,000.00
                                                IVA ANDRICA 17                                       0.889%
                                                21000
                                                VOJVODINA
                                                NOVI SAD,
                                                SURINAME 00000


                                       66                           08/17/2011      05/ll/2012       120,000    N/A

                                       BOOK31                       05/11/2012                     4,200,000    N/A
                                                                                 Total Shares:     4,200,000


                      000000000-8160            IVANA KROOVIC                                    3,150,000.00
                                                BUL DESPOTA                                          0.667%
                                                STEFANA6
                                                21000
                                                VOJVODINA
                                                NOVI SAD,
                                                SURINAME 00000


                                       55                           08/15/2011      05/11/2012        90,000    N/A
                                       BOOK20                       05/11/2012                     3,150,000    N/A
                                                                                 Total Shares:     3,150,000


                      000000000-8167            DJURDJA                                          3,850,000.00
                                                LINJACKl                                              0.815%
                                                KRALJA PETRA
                                                194
                                                23300
                                                VOJVODINA
                                                KIKINDA,
                                                SURINAME    00000


                                       62                           08/24/20i1      08/24/2011       110,000 N/A
                                       72                           08/24/2011      05/11/2012       110,000 N/A
                                       BOOK27                       05/11/2012                     3,850,000 N/A
                                                                                 Total Shares:     3.850,000

                      00N8       52             DUSAN                                            2,800,000.00
                                                MALESEV                                               0.593%
                                                ROMENACKI
                                                POT 55A
                                                21000
                                                VOJVODINA
                                                NOVl SAD,
                                                SURINAME 00000


                                       47                           08/17/2011      05/11/2012        80,000    N/A

                                       BOOK12                       05/11/2012                     2,800,000    N/A
                                                                                 Total Shares:     2,800,000




                                                                                                 SWVi TA# 104, p. 17
                                                                                                   SWVI Scans 322
O   5 of8                                                                                                             8/31/2012 12:42 PM



                                                                                                                                       A0055
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                       00000000 8155             VOJISLAV                                         4,200,000.00
                                                 MALESEV                                              0.889%
                                                 BALZAKOVA 10
                                                 21000
                                                 VOJVODINA
                                                 NOVl SAD,
                                                 SURINAME 00000


                                        50                          08/17/2011       05/11/2012       120,000 N/A
                                        BOOK15                      05/11/2012                      4,200,000 N/A
                                                                                 Total Sharts:      4,200,000


                       000000000 8161            SONJA MARIC                                      3,150,000.00
                                                 .BELE NJIVE 31                                        0.667%
                                                 21000
                                                 VOJVODINA
                                                 NOVl SAD,
                                                 SURINAME 00000


                                        56                          08/15/2011       05/11/2012        90,000    N/A
                                        BOOK21                      05/11/2012                      3,150,000    N/A
                                                                                 Total Sharts:      3,150,000


                       00000      143            HILDA DALILA                                     3,500,000.00
                                                 MARTINEZ                                              0.741%
                                                 GALVAN
                                                 C EINSTEIN MZA
                                                 3 224
                                                 PACHUCA DE
                                                 SOTO, HGO.
                                                 COL PARQUE DE
                                                 POBLAMIENTO,
                                                 MEXICO 42032


                                        39                          07/15/2011       05/11/2012       100,000    N/A
                                        BOOK4                       05/l1/2012                      3,500,000    N/A
                                                                                 Total Shares:      3,500,000


                       00000000   150            ADRIANA                                          3,500,000.00
                                                 MORALES DIAZ                                          0.741%
                                                 C PUERTO
                                                 PROGRESO 1748
                                                 GUADALA1ARA,
                                                 JAL.
                                                 COL CIRC
                                                 BELISARIO,
                                                 MEXICO 44330


                                        45                         07/14/2011       05/11/2012        100,000 N/A
                                        BOOKlo                     05/11/2012                       3,500,000    N/A
                                                                                 Total Shares:      3,500,000


                       000000000-8172            MILICA                                           4,200,000.00
G                                                NESTOROVIC                                            0.889%
                                                 SKERLICEVA 4
                                                 21000
                                                 VOJVODINA
                                                 NOVl SAD,
                                                 SURINAME 00000


                                        67                         08/15/2011       05/11/2012        120,000    N/A
                                        BOOK32                     05/11/2012                       4,200,000    N/A
                                                                                 Total Sharts:      4,200,000



                                                                                                  SWVI TA# 104, p. 18
                                                                                                    SWVI Scans 323
g   6 of 8                                                                                                             8/31/2012 12:42 PM



                                                                                                                                        A0056
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            .   •
                              000000000-8149            ELENAGUERRA
                                                        PARDILLO
                                                        C XOCHICALCO
                                                                                                       3,500,000.00
                                                                                                            0.741%

                                                        1355
                                                        BENITO JUAREZ,
                                                        D.F.
                                                        COL NARVARTE,
                                                        MEXICO 03020


                                               44                         09/20/2011      05/11/2012       100,000 N/A
                                               BOOK9                      05/11/2012                     3,500,000    N/A
                                                                                       Total Shares:     3,500,000
                                        i
                              000000000 166             SMILJANA                                       3,850,000.00
                                                        PAVLOVIC                                           0.815%
                                                        BOSKABUHE2
                                                        21000
                                                        VOJVODINA
                                                        NOVl SAD,
                                                        SURINAME 00000


                                               61                         08/24/2011      08/24/2011       110,000 N/A
                                               71                         08/24/2011      05/11/2012       110,000 N/A
                                               BOOK26                     05/11/2012                     3,850,000 N/A
                                                                                       Total Shairs:     3,850,000


                              000000000 8159            INES RADOVIC                                   3,150,000.00
                                                        STEVANA                                            0.667%
                                                        MUSICA 14/20
                                                        21000
                                                        VOJVODINA
                                                        NOVI SAD,
                                                        SURINAME 00000


                                               54                         08/24/2011      05/11/2012        90,000 N/A
                                               BOOK19                     05/11/2012                     3,150,000    N/A
                                                                                       Total Sharts:     3,150,000


                              000000000-8141            TOMAS                                          3,500,000.00
                                                        SALGADO                                             0.741%
                                                        DAMIAN
                                                        CALZ DE LA
                                                        CHARRERIA 68
                                                        DEP 10)
                                                        ALVARO
                                                        OBREGON, D.F.
                                                        COL COLINAS
                                                        DEL SUR,
                                                        MEXIC0 01430


                                               37                         07/13/2011      05/11/2012       100,000 N/A
                                               BOOK2                      05/11/2012                     3,500,000    N/A
                                                                                       Total Sharts:     3,500,000
e
                              000000000-8 46            GRISELDA                                       3,500,000.00
                                                        SANTILLAN                                          0.741%
                                                        CORIA
                                                        C EMILIANO
                                                        ZAPATA 134
                                                        MARAVATIO,
                                                        MICH.
@                                                       COL SAN
                                                        MlQUEL
                                                        CURAHUANGO,
                                                        MEXICO 61250


                                                                                                       SWVI TA# 104, p. 19
                                                                                                         SWVI Scans 324
%   7 of8                                                                                                                   8/31/2012 12:42 PM



                                                                                                                                             A0057
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                                        41                            08/17/2011      05/11/2012        100,000 N/A
                                        BOOK6                         05/11/2012                      3,500,000    N/A
                                                                                   Total Shans:       3,500,000


                      00         8156              SOFDA STANIC                                     3,150,000.00
                                                   SEKSPIROVA 5                                          0.667%
                                                   21000
                                                   VOJVODINA
                                                   NOVI SAD,
                                                   SURINAME 00000


                                        51                            08/12/2011      05/11/2012         90,000     N/A
                                        BOOKl6                        05/11/2012                      3,150,000     N/A
                                                                                   Total Sham:        3,150,000


                      00000000    163              TATJANA                                          3,150,000.00
                                                   STEFANOVIC                                            0.667%
                                                   MILETE JAKSICA
                                                   2A
                                                   21000
                                                   VOJVODINA
                                                   NOVI SAD,
                                                   SURINAME 00000


                                        58                            08/15/2011       05/11/2012        90,000     N/A
                                        BOOK23                        05/11/2012                      3,150,000     N/A
                                                                                   Total Shares:      3,150,000


                      000000000-8151               VELJKO VAVRIN                                    2,800,000.00
                                                   KARADORDEVA                                           0.593%
                                                   72
                                                   21000
                                                   VOJVODINA
                                                   NOVI SAD,
                                                   SURINAME 00000



                                        46                            08/17/2011       05/11/2012         80,000 N/A
                                        BOOK i l                      05/11/2012                       2,800,000    N/A
                                                                                   Total Skates:       2,800,000


                      000000000-8154               ALEKSANDAR                                       2,800,000.00
                                                   VUJAKOVIC                                             0.593%
                                                   PASTEROVA 10
                                                   21000
                                                   VOJVODINA
                                                   NOV1 SAD,
                                                   SURINAME   00000



                                        49                            08/17/2011       05/11/2012         80,000    N/A
                                        BOOK14                        05/11/2012                       2,800,000    N/A
                                                                                   Total Shares:       2,800,000



                                                               36 Total Holders       Grand Total --> 472,500,000




                                                                                                    SWVI TA# 104, p. 20
                                                                                                      SWVI Scans 325
$   8 of8                                                                                                                 8/31/2012 12:42 PM



                                                                                                                                           A0058
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*
                                               -   a   -WWOOORMEDOWERMWSWWE5mNmmu


                                                          CutIP   so.        &70787106




                                                        SWINGPLANE
                                                   VENTURES, INC.
      THIS CERTIFIESTHAT                   HILDA                        NEZ GALVAN



      IS TRE RECORDROLDER OF                               UNDRED THQ


                                         FULLY
                                             PAIDANDNON                      IARER       i   PAltVALUE
                                                                                                     STOCE
                                                                                                         OF
                                                                                                                              &
      SWINGPLANEVENTURES.INC..i....l...LI...thb..6.ItL
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               AHorne,=po..arr..d.e.itLs
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                                                                                                         MATTDtEHL.CEO




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                                                                                                              SWVI TA# 104,   p. 41



                                                                                                                                            A0059
                Case 1:15-cv-00894-WHP-JLC Document 75-1 Filed 03/28/15 Page 60 of 62


N(VrlCE:       Signature  omst be guaranteed by a firm which is a member of a registerxl national stock exchange, or by a bank (other than a savings bank), or a trust
               company.'Ibe following abbreviations, when used in the inscription on the face of this certificate, shall be constructed as though they were written out
               in full according to applicable laws or regulations.

                               TEN COM              -    as tenants   in common                                     UNIF GIFT MIN ACT                -    Custodian

                               TEN ENT          -       as tenants by the entireties                                          (Cust)                        (Minor)
                               JT   TEN-            as joim tenams with right of                                              under Uniform      Gifts to Minors

                               survivorship    and not as tenants in common                                                       '""""""        }
                                                                   Additional   abbreviations may also be used though not in the above list.




                For Value Received,                                                                          hereby sell, assign and transfer unto
           PLEASE INSERT SOCIAL SECURirY OR &DIER
              IDENTIFYINONUMBER    OF ASSIGNEE




                                              (PLEAsE PRINT OR TYPEWRTIE NAME AND            ADDRESs.INCLUDING ZIP CODE.GR
                                                                                                                         AsSIGNEE)




                                                                                                                                                                      Shares
      of   the capital     stock                    represented           by       the       written          certificate,    and           do   hereby          irrevocably
      constitute and appoint

                                                                                                                                                                   Attorney
      to transfer    the said stock                       on      the     books         of     the         within   named Corporation                    with   full power
      of substitution in the premises.
                                                                                    Dated:




                                                                                                                               Signature



                                                                                                                    Signature (If more than one owner)

                                                                                       NOTICE.        HE  SIGNAWRE 'rDEHS ASSIGl%GDir MUST CORRESPoND WirH WUi NMD: AS
                                                                                                  *   wRrrrEN UPON THE FACE OF THE CERTIFICAH IN EVERY PAlmCUI.AR
                                                                                                      wITHOUT ALTERATION ORENI.ARGEMENT OR ANY CHANGE wHATEVER.



                                                                                                AFFIX MEDALLION SIGNATURE GUARANTEE




                                                                                                                                    SWVI TA# 104, p. 42
                                                                                                                                      6WVI 6cans 34t



                                                                                                                                                                               A0060
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                              JICORoME,_Uulp MEIMBy.THE$rANEMNEmDA

                                CUSIP   NO.      470747108




  g                           SWINGPLANE
                            VENTURES, INC.
 THIS C                ARiA iSABEL GONZALE



 is THE                OF   ONE HUNDR                 D


          . FUliYl½lDANDNON   AKSOF$0.cotPARVALUE

                                                     4.1,
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                C.,,...u..6......¿
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         C.e,.e.u...
           &
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                         C..sik.i.i.6,nd.la.d..s.d
                                       .  its Olle.......ab.d

                                                                     MATTOIEHL.CEO




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                                                                         SWVI TA# 104,   p. 43



                                                                                                       A0061
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NOTICE:       signature must be guaranteed by a finn which is a memberof a registered national stock exchange,or by a bank (other than a savings bank), or a trust
              company. The following abbæviations, when used in the inscription on the face of this certificate, shall be constructed as though they were written out
              in full according to applicable laws or regulations.


                              TEN COM - as tenants in common                                               UNIF GIFT MIN ACT                      -    Custodian
                              TEN ENT - as tenants by the entireties                                                     (Cust)                          (Minor)
                              JT TEN- asjoint tenants with right of                                                                 Uniform Gifts to Minors

                              survivorship    and not as tenants in common                                                    """       (State)


                                                            Additional abbreviations     may also be used though not in the above list.




              For Value Received,                                                                  hereby     sell, assign and transfer unto
          PLEASE INSERT SOCIAL SECURITY OR UTHER
              IDEWrlFYING NUMBER OF ASSIGNEE




                                             (PLEASE PRINT OR TYPEWRITE NAME AND   ADDRESS.INCLUDING ZIPCODE, OR ASSIGNEE)




                                                                                                                                                                    Shares
    of       the    capital  stock              represented        by        the       written      certificate,        and          do       hereby          irrevocably
    constitute     and appoint

                                                                                                                                                                   Attorney
    to transfer the said stock                       on     the    books of the                  within     named       Corporation                   with   full      power
    of substitution in the premises.
                                                                             Dated:




                                                                                                                         Signature



                                                                                                          Signature (If more than one owner)

                                                                              NOTlŒ. '       THE SIGNKÆRETOTHIS   ASSIGNMErff MUST CORRESPOND WrrH DIE NAME AS
                                                                                             WRITIEN UPON THE FACE OF11fE CERTIFICATE IN EvERY PARTICULAR
                                                                                             WirHOUT ALTERATION OR ENLARGEMENT OR ANY CHANGE WHATEVER.


                                                                                         AFFIX MEDALLION                SIGNATURE GUARANTEE




                                                                                                                                  SWVI TA# 104, p. 44
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